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                                                              UNITED STATES BANKRUPTCY COURT
                                                                   DISTRICT OF DELAWARE

                                                                                                                             Case No. 16-12728 (KG) Reporting Period:
In re _NNN 400 Capitol Center 16, LLC, et al
                                                                                                                             December 2019



                                                                  MONTHLY OPERATING REPORT
                               File with Court and submit copy to United States Trustee within 20 days after end of month.


Submit copy of report to any official committee appointed in the case.

                                                                                                                     Document      Explanation Affidavit/Supplement
REQUIRED DOCUMENTS                                                                        Form No.                   Attached       Attached         Attached
Schedule of Cash Receipts and Disbursements                                             MOR-1                           x
   Bank Reconciliation (or copies of debtor's bank reconciliations)                     MOR-1a                           x
   Schedule of Professional Fees Paid                                                   MOR-1b                           x
   Copies of bank statements                                                                                            x
   Cash disbursements journals                                                                                           x
Statement of Operations                                                                 MOR-2                            x
Balance Sheet                                                                           MOR-3                            x
Status of Postpetition Taxes                                                            MOR-4                            x
  Copies of IRS Form 6123 or payment receipt                                                                            x
  Copies of tax returns filed during reporting period                                                                   x
Summary of Unpaid Postpetition Debts                                                    MOR-4                           x
  Listing of aged accounts payable                                                      MOR-4                           x
Accounts Receivable Reconciliation and Aging                                            MOR-5                           x
Debtor Questionnaire                                                                    MOR-5                           x


I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
are true and correct to the best of my knowledge and belief.


_______________________________________                                                 ______________________________
Signature of Debtor                                                                     Date


_______________________________________
Signature of Joint Debtor


_______________________________________                                                 February 2, 2020
Signature of Authorized Individual*                                                     Date


Lori Adcock McGhee, CPM                                                                   Declarant
                                                                                        ______________________________
Printed Name of Authorized Individual                                                   Title of Authorized Individual



*Authorized individual must be an officer, director or shareholder if debtor is a corporation; a partner if debtor
is a partnership; a manager or member if debtor is a limited liability company.




                                                                                                                                                                  MOR
                                                                                                                                                                (04/07)
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                                                                                                               Case No. 16-12728 (KG) Reporting Period:
      In re: NNN 400 Capitol Center 16, LLC, et al
                                                                                                               December 2019



                                      SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                   BANK ACCOUNTS                              CURRENT MONTH                   CUMULATIVE FILING TO DATE
                                         OPER.     PAYROLL       TAX        OTHER          ACTUAL            PROJECTED             ACTUAL             PROJECTED

CASH BEGINNING OF MONTH



RECEIPTS

CASH SALES

ACCOUNTS RECEIVABLE


                                                        SEE ENCLOSED REPORTS LABELED AS
LOANS AND ADVANCES

SALE OF ASSETS

OTHER (ATTACH LIST)                                     (I) CASH FLOW STATEMENT, and
TRANSFERS (FROM DIP ACCTS)
                                                        (II) GENERAL LEDGER
  TOTAL RECEIPTS



DISBURSEMENTS

NET PAYROLL

PAYROLL TAXES

SALES, USE, & OTHER TAXES

INVENTORY PURCHASES

SECURED/ RENTAL/ LEASES

INSURANCE

ADMINISTRATIVE

SELLING

OTHER (ATTACH LIST)



OWNER DRAW *

TRANSFERS (TO DIP ACCTS)



PROFESSIONAL FEES

U.S. TRUSTEE QUARTERLY FEES

COURT COSTS

TOTAL DISBURSEMENTS



NET CASH FLOW

(RECEIPTS LESS DISBURSEMENTS)




CASH - END OF MONTH

* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                       THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

TOTAL DISBURSEMENTS                                                                                                                              $   561,550.94
  LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                               $           0.00
  PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                 $           0.00
TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                  $   561,550.94




                                                                                                                                                                  FORM MOR-1
                                                                                                                                                                       (04/07)
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                                                                                                                         Case No. 16-12728 (KG) Reporting Period:
      In re: NNN 400 Capitol Center 16, LLC, et al
                                                                                                                         December 2019




                                                                      BANK RECONCILIATIONS
                                                                        Continuation Sheet for MOR-1
                         A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.


                                                              Operating                         Payroll                           Tax                               Other
                                                    #                               #                               #                               #
BALANCE PER BOOKS


BANK BALANCE
(+) DEPOSITS IN TRANSIT (ATTACH LIST)

                                                                     SEE ENCLOSED REPORTS LABELED AS
(-) OUTSTANDING CHECKS (ATTACH LIST)
OTHER (ATTACH EXPLANATION)
ADJUSTED BANK BALANCE *
* Adjusted bank balance must equal
                                                                     (III) BANK RECONCILIATIONS
  balance per books                                                  & BANK STATEMENTS
DEPOSITS IN TRANSIT                                      Date          Amount            Date          Amount            Date           Amount              Date        Amount




CHECKS OUTSTANDING                                      Ck. #          Amount           Ch. #          Amount            Ck. #          Amount              Ck. #       Amount




OTHER




                                                                                                                                                                             FORM MOR-1a
                                                                                                                                                                                   (04/07)
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  In re: NNN 400 Capitol Center 16, LLC, et al                                                                                 Case No. 16-12728 (KG) Reporting Period:
                                                                                                                               December 2019




                                                           SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                   This schedule is to include all retained professional payments from case inception to current month.

                                              Amount                                   Check                         Amount Paid                              Year-To-Date
     Payee            Period Covered         Approved              Payor           Number    Date                Fees       Expenses                      Fees          Expenses

Rubin & Rubin                            145,000          NNN 400 Capitol Ctr       wire        12/17         145,000                            495,000
Whiteford                                145,000          NNN 400 Capitol Ctr       wire        12/17         145,000                             495,000




                                                                                                                                                                           FORM MOR-1b
                                                                                                                                                                                 (04/07)
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    In re: NNN 400 Capitol Center 16, LLC, et al
                                                                                                Case No. 16-12728 (KG) Reporting Period:
                                                                                                December 2019




                                               STATEMENT OF OPERATIONS
                                                           (Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                       Cumulative
REVENUES                                                                             Month                            Filing to Date
Gross Revenues                                                                       $                          $
Less: Returns and Allowances
Net Revenue                                                                          $                          $
COST OF GOODS SOLD
Beginning Inventory
Add: Purchases
Add: Cost of Labor
Add: Other Costs (attach schedule)
Less: Ending Inventory
                                         SEE ENCLOSED REPORT LABELED AS
Cost of Goods Sold                       (IV) ACCRUAL BASED INCOME STATEMENT
Gross Profit
OPERATING EXPENSES
Advertising
Auto and Truck Expense
Bad Debts
Contributions
Employee Benefits Programs
Insider Compensation*
Insurance
Management Fees/Bonuses
Office Expense
Pension & Profit-Sharing Plans
Repairs and Maintenance
Rent and Lease Expense
Salaries/Commissions/Fees
Supplies
Taxes - Payroll
Taxes - Real Estate
Taxes - Other
Travel and Entertainment
Utilities
Other (attach schedule)
Total Operating Expenses Before Depreciation
Depreciation/Depletion/Amortization
Net Profit (Loss) Before Other Income & Expenses
OTHER INCOME AND EXPENSES
Other Income (attach schedule)
Interest Expense
Other Expense (attach schedule)
Net Profit (Loss) Before Reorganization Items
REORGANIZATION ITEMS
Professional Fees
U. S. Trustee Quarterly Fees
Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
Gain (Loss) from Sale of Equipment
Other Reorganization Expenses (attach schedule)
Total Reorganization Expenses
Income Taxes
Net Profit (Loss)                                                                    $                          $

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                       FORM MOR-2
                                                                                                                                            (04/07)
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    In re: NNN 400 Capitol Center 16, LLC, et al                                        Case No. 16-12728 (KG) Reporting Period:
                                                                                        December 2019




                                 STATEMENT OF OPERATIONS - continuation sheet


                                                                                                                Cumulative
BREAKDOWN OF "OTHER" CATEGORY                                             Month                                Filing to Date

Other Costs




Other Operational Expenses




Other Income




Other Expenses




Other Reorganization Expenses




Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                    FORM MOR-2 CONT'D
                                                                                                                                (04/07)
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      In re: NNN 400 Capitol Center 16, LLC, et al                                                                                    Case No. 16-12728 (KG) Reporting Period:
                                                                                                                                      December 2019



                                                                                      BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                         BOOK VALUE AT END OF                              BOOK VALUE ON
                                        ASSETS                                                      CURRENT REPORTING MONTH                                PETITION DATE
CURRENT ASSETS
Unrestricted Cash and Equivalents
Restricted Cash and Cash Equivalents (see continuation sheet)
Accounts Receivable (Net)
Notes Receivable
Inventories
Prepaid Expenses                                           SEE ENCLOSED REPORT LABELED AS
Professional Retainers
Other Current Assets (attach schedule)
                                                           (V) ACCRUAL BASED BALANCE SHEET
TOTAL CURRENT ASSETS                                                                         $                                                         $
PROPERTY AND EQUIPMENT
Real Property and Improvements
Machinery and Equipment
Furniture, Fixtures and Office Equipment
Leasehold Improvements
Vehicles
Less Accumulated Depreciation
TOTAL PROPERTY & EQUIPMENT                                                                   $                                                         $
OTHER ASSETS
Loans to Insiders*
Other Assets (attach schedule)
TOTAL OTHER ASSETS                                                                           $                                                         $


TOTAL ASSETS                                                                                 $                                                         $


                                                                                                 BOOK VALUE AT END OF                                      BOOK VALUE ON
                 LIABILITIES AND OWNER EQUITY                                                CURRENT REPORTING MONTH                                       PETITION DATE
LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
Accounts Payable
Taxes Payable (refer to FORM MOR-4)
Wages Payable
Notes Payable
Rent / Leases - Building/Equipment
Secured Debt / Adequate Protection Payments
Professional Fees
Amounts Due to Insiders*
Other Postpetition Liabilities (attach schedule)
TOTAL POSTPETITION LIABILITIES                                                               $                                                         $
LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
Secured Debt
Priority Debt
Unsecured Debt
TOTAL PRE-PETITION LIABILITIES                                                               $                                                         $


TOTAL LIABILITIES                                                                            $                                                         $
OWNER EQUITY
Capital Stock
Additional Paid-In Capital
Partners' Capital Account
Owner's Equity Account
Retained Earnings - Pre-Petition
Retained Earnings - Postpetition
Adjustments to Owner Equity (attach schedule)
Postpetition Contributions (Distributions) (Draws) (attach schedule)
NET OWNER EQUITY                                                                             $                                                         $


TOTAL LIABILITIES AND OWNERS' EQUITY                                                         $                                                         $

*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                           FORM MOR-3
                                                                                                                                                                                (04/07)
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                                                                                                    Case No. 16-12728 (KG) Reporting Period:
In re: NNN 400 Capitol Center 16, LLC, et al
                                                                                                    December 2019




                                                       BALANCE SHEET - continuation sheet


                                                                                     BOOK VALUE AT END OF                       BOOK VALUE ON
                                     ASSETS                                       CURRENT REPORTING MONTH                        PETITION DATE
     Other Current Assets




     Other Assets




                                                                                     BOOK VALUE AT END OF                       BOOK VALUE ON
                   LIABILITIES AND OWNER EQUITY                                   CURRENT REPORTING MONTH                        PETITION DATE
     Other Postpetition Liabilities




     Adjustments to Owner Equity




     Postpetition Contributions (Distributions) (Draws)




     Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
     into a separate account, such as an escrow account.




                                                                                                                                                    FORM MOR-3 CONT'D
                                                                                                                                                                (04/07)
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                                                                                                          Case No. 16-12728 (KG) Reporting Period:
     In re: NNN 400 Capitol Center 16, LLC, et al                                                         December 2019




                                                       STATUS OF POSTPETITION TAXES

The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
Attach photocopies of any tax returns filed during the reporting period.

                                                        Beginning         Amount                                                                 Ending
                                                          Tax            Withheld or          Amount              Date            Check No.        Tax
                                                        Liability         Accrued              Paid               Paid             or EFT        Liability
Federal
Withholding
FICA-Employee
FICA-Employer
Unemployment
Income
                                                         N/A - NO EMPLOYEES
Other:_________________
  Total Federal Taxes
State and Local
Withholding
Sales
Excise
Unemployment
Real Property
Personal Property
Other:_________________
  Total State and Local
Total Taxes


                                              SUMMARY OF UNPAID POSTPETITION DEBTS

Attach aged listing of accounts payable.

                                                                                            Number of Days Past Due
                                                    Current            0-30              31-60         61-90                   Over 90        Total
Accounts Payable
Wages Payable
Taxes Payable
Rent/Leases-Building
Rent/Leases-Equipment
                                                   SEE ENCLOSED REPORT LABELED AS
Secured Debt/Adequate Protection Payments          (VI) AGED PAYABLES REPORT
Professional Fees
Amounts Due to Insiders*
Other:__________________________
Other:__________________________
Total Postpetition Debts

Explain how and when the Debtor intends to pay any past-due postpetition debts.




*"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                      FORM MOR-4
                                                                                                                                                           (04/07)
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                                                                                        Case No. 16-12728 (KG) Reporting Period:
    In re: NNN 400 Capitol Center 16, LLC, et al
                                                                                        December 2019




                       ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


Accounts Receivable Reconciliation                                                                              Amount
Total Accounts Receivable at the beginning of the reporting period
+ Amounts billed during the period
- Amounts collected during the period
Total Accounts Receivable at the end of the reporting period

Accounts Receivable Aging                                                                                       Amount
0 - 30 days old
31 - 60 days old              SEE ENCLOSED REPORT LABELED AS
61 - 90 days old              (VII) AGED RECEIVABLES REPORT
91+ days old
Total Accounts Receivable
Amount considered uncollectible (Bad Debt)
Accounts Receivable (Net)

                                                DEBTOR QUESTIONNAIRE

Must be completed each month                                                                               Yes             No
1. Have any assets been sold or transferred outside the normal course of business
                                                                                                                            x
   this reporting period? If yes, provide an explanation below.
2. Have any funds been disbursed from any account other than a debtor in possession                                         x
   account this reporting period? If yes, provide an explanation below.
3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                           N/A
   below.
4. Are workers compensation, general liability and other necessary insurance
                                                                                                            x
   coverages in effect? If no, provide an explanation below.
5. Has any bank account been opened during the reporting period? If yes, provide
                                                                                                                            x
   documentation identifying the opened account(s). If an investment account has been opened
   provide the required documentation pursuant to the Delaware Local Rule 4001-3.




                                                                                                                         FORM MOR-5
                                                                                                                              (04/07)
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Cash Flow
Newmark Moses Tucker Partners
                                                                                     I.      CASH FLOW STATEMENT
Properties: regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201
Date Range: 12/01/2019 to 12/31/2019
Accounting Basis: Cash
Level of Detail: Detail View
Account Name                                                   Selected Period            % of Selected Period             Fiscal Year To Date     % of Fiscal Year To Date
Operating Income & Expense
  Income
    Revenue
      Rent                                                            585,096.56                          91.88                     7,101,519.35                      92.31
      Percentage Rent                                                       0.00                           0.00                       17,165.28                        0.22
      CAM Income                                                       11,779.74                           1.85                      141,554.53                        1.84
      Late Fee Income                                                    385.77                            0.06                          576.18                        0.01
      Storage Income                                                     429.18                            0.07                         5,108.28                       0.07
      Telecom Income                                                    3,231.33                           0.51                       37,900.96                        0.49
      Parking Income - Non Taxable                                     35,868.88                           5.63                      388,938.69                        5.06
      Vending Income                                                       25.00                           0.00                          150.00                        0.00
    Total Revenue                                                     636,816.46                         100.00                     7,692,913.27                     100.00
  Total Operating Income                                              636,816.46                         100.00                     7,692,913.27                     100.00
  Expense
    Payroll Expenses
      Onsite Engineer and Maintenance                                  13,605.01                           2.14                      161,936.94                        2.11
      Onsite Management                                                11,958.85                           1.88                       95,000.42                        1.23
      Employee Screening                                                    0.00                           0.00                           75.00                        0.00
      Payroll Other/Temp Services                                           0.00                           0.00                         2,474.09                       0.03
    Total Payroll Expenses                                             25,563.86                           4.01                      259,486.45                        3.37
    Repairs Maintenance and Supplies
      Contract Repairs and Maintenance
         Appliance Maintenance CM                                           0.00                           0.00                          970.08                        0.01
         Building Repairs and Maintenance CM                           73,439.00                          11.53                      501,284.35                        6.52
         Carpet and Floor Cleaning and Repairs CM                        263.60                            0.04                         3,729.08                       0.05
         Chemical Water Treatment CM                                        0.00                           0.00                         1,020.60                       0.01
         Dock Repairs and Maintenance CM                                    0.00                           0.00                       49,733.10                        0.65
         Door and Lock Repairs CM                                        333.54                            0.05                         3,794.02                       0.05
         Drape and Blind Repairs CM                                     6,535.00                           1.03                         9,896.85                       0.13
         Electrical Repairs and Maint CM                                    0.00                           0.00                      324,782.24                        4.22


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Cash Flow
Account Name                                               Selected Period         % of Selected Period             Fiscal Year To Date     % of Fiscal Year To Date
         Elevator Repairs and Maintenance CM                      13,328.06                        2.09                       164,129.56                        2.13
         Equipment Maintenance CM                                       0.00                       0.00                           100.00                        0.00
         Fire and Life Safety CM                                  15,210.29                        2.39                        21,761.49                        0.28
         HVAC CM                                                    7,319.67                       1.15                       218,537.38                        2.84
         Janitorial - Night Service CM                            34,580.47                        5.43                       378,891.02                        4.93
         Landscaping and Grounds CM                                 2,627.75                       0.41                        35,088.56                        0.46
         Painting CM                                                2,530.00                       0.40                       104,203.91                        1.35
         Pest Control                                                 353.16                       0.06                          4,224.84                       0.05
         Plant Services CM                                              0.00                       0.00                        14,995.91                        0.19
         Plumbing CM                                                4,600.02                       0.72                       139,297.99                        1.81
         Pressure Washing                                           1,657.55                       0.26                        10,682.85                        0.14
         Roof Repair CM                                                 0.00                       0.00                           685.51                        0.01
         Security Monitoring CM                                       385.04                       0.06                          5,087.93                       0.07
         Security-Protection Equipment CM                           -3,856.91                      -0.61                         8,160.80                       0.11
         Security Services CM                                     10,923.56                        1.72                       257,128.61                        3.34
         Signage Repairs CM                                             0.00                       0.00                        19,503.90                        0.25
         Skywalk Maintenance                                          393.00                       0.06                          5,109.00                       0.07
         Window Cleaning CM                                             0.00                       0.00                          1,659.58                       0.02
         Window Repair and Maint CM                                 1,239.76                       0.19                       116,259.18                        1.51
      Total Contract Repairs and Maintenance                     171,862.56                       26.99                      2,400,718.34                      31.21
      Contract Maintenance Supplies and
      Equipment
         Building Supplies MS                                           0.00                       0.00                        20,806.18                        0.27
         Door and Lock Supplies MS                                      0.00                       0.00                            54.75                        0.00
         Electrical Supplies MS                                         0.00                       0.00                       115,040.72                        1.50
         HVAC Supplies MS                                           1,044.52                       0.16                          3,835.62                       0.05
         Janitorial Supplies MS                                     4,497.22                       0.71                        54,023.70                        0.70
      Total Contract Maintenance Supplies and                       5,541.74                       0.87                       193,760.97                        2.52
      Equipment
    Total Repairs Maintenance and Supplies                       177,404.30                       27.86                      2,594,479.31                      33.73
    Utilities and Service Expenses
      Electricity US                                              83,860.16                       13.17                      1,079,224.39                      14.03
      Fuel US                                                           0.00                       0.00                            11.67                        0.00
      Garbage Removal US                                            3,302.64                       0.52                        33,754.16                        0.44
      Internet Service US                                             418.67                       0.07                          6,942.86                       0.09



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Cash Flow
Account Name                                                Selected Period         % of Selected Period             Fiscal Year To Date     % of Fiscal Year To Date
      Telephone US                                                     400.00                       0.06                        12,795.60                        0.17
      Television Cable US                                              164.21                       0.03                          1,662.15                       0.02
      Water and Sewer US                                                 0.00                       0.00                       152,445.42                        1.98
    Total Utilities and Service Expenses                           88,145.68                       13.84                      1,286,836.25                      16.73
    Administrative Expenses
      Accounting Fees                                                    0.00                       0.00                          3,363.75                       0.04
      Advertising AS                                                     0.00                       0.00                          2,896.17                       0.04
      Asset Management Fees                                          -8,000.00                      -1.26                             0.00                       0.00
      Bank Charges AS                                                  158.69                       0.02                           702.29                        0.01
      Computer Software - Exp and/or Licensing                           0.00                       0.00                          1,977.25                       0.03
      Dues and Fees AS                                                   0.00                       0.00                           470.00                        0.01
      Education and Training AS                                          0.00                       0.00                          1,780.00                       0.02
      Legal Fees AS                                                      0.00                       0.00                        27,024.55                        0.35
      Management Fees AS                                           12,166.82                        1.91                       143,798.47                        1.87
      Meals and Entertainment AS                                         0.00                       0.00                          5,065.66                       0.07
      Misc Decorating Exp AS                                             0.00                       0.00                              7.87                       0.00
      Office Supplies AS                                                 0.00                       0.00                          5,425.70                       0.07
      Postage AS                                                         0.00                       0.00                           571.13                        0.01
      Printing & Copying AS                                              0.00                       0.00                           121.65                        0.00
      Suspense AS                                                  30,127.55                        4.73                        30,127.55                        0.39
      Tenant and Client Appreciation                                 8,038.53                       1.26                        11,015.74                        0.14
      Travel Expenses AS                                           12,555.11                        1.97                        12,555.11                        0.16
    Total Administrative Expenses                                  55,046.70                        8.64                       246,902.89                        3.21
    Taxes and Insurance
      Property Insurance                                                 0.00                       0.00                       105,523.20                        1.37
      Real Estate Taxes                                                  0.00                       0.00                       429,756.00                        5.59
    Total Taxes and Insurance                                            0.00                       0.00                       535,279.20                        6.96
    Administrative Expenses NR
      Asset Management Fees NR                                     12,000.00                        1.88                        40,000.00                        0.52
      Legal Fees AS NR                                               5,500.00                       0.86                          5,500.00                       0.07
      Non-Building Compliance and Reg Fees NR                            0.00                       0.00                       198,361.85                        2.58
    Total Administrative Expenses NR                               17,500.00                        2.75                       243,861.85                        3.17
  Total Operating Expense                                         363,660.54                       57.11                      5,166,845.95                      67.16




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Cash Flow
Account Name                                      Selected Period        % of Selected Period             Fiscal Year To Date     % of Fiscal Year To Date
  NOI - Net Operating Income                            273,155.92                       42.89                     2,526,067.32                      32.84


Other Income & Expense
  Other Expense
    Debt Service
      Mortgage Interest                                 162,000.00                       25.44                     1,944,000.00                      25.27
    Total Debt Service                                  162,000.00                       25.44                     1,944,000.00                      25.27
    Capital Expenditures
      Exterior Building Improvements                       5,452.00                       0.86                         5,452.00                       0.07
      Interior Building Improvements                     22,105.00                        3.47                      237,913.87                        3.09
      Leasing Commissions                                  8,333.40                       1.31                      103,834.87                        1.35
      Tenant Finish                                            0.00                       0.00                         2,302.00                       0.03
    Total Capital Expenditures                           35,890.40                        5.64                      349,502.74                        4.54
  Total Other Expense                                   197,890.40                       31.07                     2,293,502.74                      29.81


  Net Other Income                                      -197,890.40                     -31.07                    -2,293,502.74                      -29.81


  Total Income                                          636,816.46                      100.00                     7,692,913.27                     100.00
  Total Expense                                         561,550.94                       88.18                     7,460,348.69                      96.98


  Net Income                                             75,265.52                       11.82                      232,564.58                        3.02


  Other Items
    Operating Cash                                             0.00                                                 -464,568.20
    Security Deposit Escrow Account                            0.00                                                   -1,449.00
    AR - Other                                                 0.00                                                     -360.00
    Prepaid Expenses                                           0.00                                                  -66,955.37
    Land Improvements - Landscaping                        1,962.00                                                    1,962.00
    Building - Legal Fees                                  2,035.00                                                    2,035.00
    Building - Soil-Environmental                              0.00                                                  -30,553.00
    Building - Window Treatments                           5,240.00                                                    5,240.00
    CIP - Capital Improvements                                 0.00                                                    6,345.77
    Building Improvements                                      0.00                                                  -60,426.77
    Tenant Improvements                                        0.00                                               -1,179,941.51



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Cash Flow
Account Name                               Selected Period         % of Selected Period            Fiscal Year To Date     % of Fiscal Year To Date
    Tenant Finish                                       0.00                                                   -6,723.42
    CIP - Tenant Improvements                    -285,040.00                                                 813,675.51
    Appliances                                          0.00                                                  -12,317.00
    Security System                                     0.00                                                   -3,856.91
    Legal Fees                                      -2,863.15                                                 -90,085.88
    Prepaid Income                                53,062.60                                                   -90,290.06
    Security Deposits                                   0.00                                                  13,277.88
  Net Other Items                                -225,603.55                                               -1,164,990.96


Cash Flow                                        -150,338.03                                                 -932,426.38


Beginning Cash                                  1,313,887.03                                                2,095,975.38
Beginning Cash + Cash Flow                      1,163,549.00                                                1,163,549.00
Actual Ending Cash                              1,163,549.00                                                1,163,549.00




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General Ledger
Properties: regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201       II. GENERAL LEDGER
GL Accounts: All
Exclude Zero Dollar Receipts From Cash Accounts: Yes
Date Range: 12/01/2019 to 12/31/2019
Accounting Basis: Cash
Show Reversed Transactions: Yes
     Date        Payee / Payer                  Type              Reference                 Debit          Credit       Balance Description
 1101-0000 - Operating Cash
Starting                                                                                                              1,313,887.03
Balance
  12/01/2019    Matthew White                   eCheck receipt    2F82-817E                5,628.00                   1,319,515.03 December 2019
  12/01/2019    Ghidotti Communications, LLC    eCheck receipt    4167-8D58                4,047.83                   1,323,562.86 December 2019
  12/01/2019                                    Reversed JE                                                7,741.38   1,315,821.48 s/d $ to s/d account (Reversed
                                                                                                                                   on 12/01/2019)
  12/01/2019                                    Reverse JE                                 7,741.38                   1,323,562.86 Reverse Journal Entry s/d $ to s/
                                                                                                                                   d account
  12/02/2019    Franke's Inc                    Reverse Receipt                                            4,000.00   1,319,562.86 NSF reversal receipt for
                                                                                                                                   Reference #KRD3-TWXK
  12/02/2019    Franke's Inc                    Reverse Receipt                                            1,165.28   1,318,397.58 NSF reversal receipt for
                                                                                                                                   Reference #KRD3-TWXK
  12/03/2019                                    JE                                                       162,000.00   1,156,397.58
  12/04/2019    Arkansas Anti-Aging P.A.        Receipt           LX1F-VWXK                1,602.67                   1,158,000.25
  12/04/2019    Twentieth Floor Corporation     Receipt           MX1F-VWXK                 376.38                    1,158,376.63 0105A
  12/04/2019    Twentieth Floor Corporation     Receipt           MX1F-VWXK               20,854.72                   1,179,231.35 2000
  12/04/2019    Twentieth Floor Corporation     Receipt           MX1F-VWXK               20,854.72                   1,200,086.07 2100
  12/04/2019    Twentieth Floor Corporation     Receipt           MX1F-VWXK               20,854.72                   1,220,940.79 2200
  12/04/2019    Twentieth Floor Corporation     Receipt           MX1F-VWXK               14,146.30                   1,235,087.09 2300
  12/04/2019    Twentieth Floor Corporation     Receipt           MX1F-VWXK                 429.18                    1,235,516.27 Storage 4
  12/04/2019    ARCare                          Receipt           NX1F-VWXK                5,663.06                   1,241,179.33
  12/04/2019    Baird, Kurtz & Dobson           Receipt           PX1F-VWXK               36,991.40                   1,278,170.73
  12/04/2019    Wittenberg, Delony & Davidson   Receipt           QX1F-VWXK               12,534.08                   1,290,704.81
  12/04/2019    Wittenberg, Delony & Davidson   Receipt           RX1F-VWXK                 314.40                    1,291,019.21
  12/04/2019    The Women's Foundation of       Receipt           SX1F-VWXK                1,449.00                   1,292,468.21
                Arkansas
  12/04/2019    Regions Bank                    Receipt           TX1F-VWXK               30,416.43                   1,322,884.64
  12/04/2019    Regions Bank                    Receipt           TX1F-VWXK                1,981.06                   1,324,865.70
  12/04/2019    Regions Bank                    Receipt           TX1F-VWXK              191,269.77                   1,516,135.47 Prepaid Any




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General Ledger
     Date        Payee / Payer                     Type        Reference                Debit         Credit        Balance Description
  12/04/2019    Rasco, Winter, Abston, Moore &     Receipt     VX1F-VWXK              13,316.74                   1,529,452.21
                Associates, LLP
  12/04/2019    Regions Bank                       Receipt     WX1F-VWXK               2,468.81                   1,531,921.02 Prepaid Any
  12/04/2019    Whelan Security Co.                Receipt     XX1F-VWXK                 97.81                    1,532,018.83
  12/04/2019    Whelan Security Co.                Receipt     XX1F-VWXK                   4.90                   1,532,023.73 Late Fee for Nov 2019
  12/04/2019    Whelan Security Co.                Receipt     XX1F-VWXK               1,853.32                   1,533,877.05
  12/04/2019    Wilson Carroll Research            Receipt     YX1F-VWXK               5,593.65                   1,539,470.70
                Services LLC
  12/04/2019    Disability Rights Arkansas, Inc.   Receipt     N3S3-VWXK               7,667.17                   1,547,137.87
  12/04/2019    Disability Rights Arkansas, Inc.   Receipt     N3S3-VWXK               2,585.24                   1,549,723.11
  12/04/2019    The Communications Group, Inc. Receipt         P3S3-VWXK               9,173.34                   1,558,896.45
  12/04/2019    Munson Rowlett Moore & Boone, Receipt          Q3S3-VWXK              23,965.53                   1,582,861.98
                P.A.
  12/04/2019    Airfirst, Inc.                     Receipt     R3S3-VWXK               2,129.80                   1,584,991.78
  12/04/2019    Airfirst, Inc.                     Receipt     R3S3-VWXK                106.49                    1,585,098.27 Late Fee for Nov 2019
  12/04/2019    Airfirst, Inc.                     Receipt     R3S3-VWXK               3,937.13                   1,589,035.40
  12/04/2019    W. Lyn Fruchey                     Receipt     S3S3-VWXK                   0.20                   1,589,035.60
  12/04/2019    W. Lyn Fruchey                     Receipt     S3S3-VWXK               1,828.00                   1,590,863.60
  12/04/2019    Wilson & Associates, PLLC          Receipt     T3S3-VWXK              38,314.13                   1,629,177.73
  12/04/2019    GDH Consulting, Inc.               Receipt     ZZHC-VWXK               1,513.33                   1,630,691.06
  12/04/2019    The Design Group                   Receipt     00JC-VWXK               4,858.61                   1,635,549.67
  12/05/2019    Deloitte LLP                       Receipt     TRANSFER               17,898.88                   1,653,448.55 December 2019
  12/05/2019    Deloitte LLP                       Receipt     TRANSFER               36,225.00                   1,689,673.55 Prepaid Any
  12/06/2019    DLS Discovery, LLC                 Check       2702                                   5,500.00    1,684,173.55
  12/06/2019    McGhee Real Estate Services,       Check       2703                                   4,000.00    1,680,173.55
                Inc.
  12/06/2019    McGhee Real Estate Services,       Check       2703                                    958.01     1,679,215.54
                Inc.
  12/06/2019    The Westin                         Check       2704                                  10,241.00    1,668,974.54
  12/09/2019    Bradford Media Group, LLC          Receipt     K8RY-VWXK                274.38                    1,669,248.92 Late Fee for Oct 2019
  12/09/2019    Bradford Media Group, LLC          Receipt     K8RY-VWXK               2,469.35                   1,671,718.27
  12/09/2019    Anderson, Murphy & Hopkins,        Receipt     M8RY-VWXK              29,504.87                   1,701,223.14
                LLP
  12/09/2019    The Payroll Company of             Receipt     L8RY-VWXK               4,578.52                   1,705,801.66
                Arkansas, LLC
  12/11/2019    Progressive Parking Solutions      Receipt     16596                  10,868.88                   1,716,670.54
  12/11/2019    Raizcentral LLC                    Receipt     1080                      25.00                    1,716,695.54 Dec electric


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General Ledger
     Date        Payee / Payer                 Type        Reference                Debit          Credit       Balance Description
  12/13/2019    AR Shades Blinds & Shutters Inc Check      2705                                    1,295.00   1,715,400.54
  12/13/2019    ATT                            Check       2706                                       58.01   1,715,342.53
  12/13/2019    ATT                            Check       2706                                     105.47    1,715,237.06
  12/13/2019    Alarmco, Inc.                  Check       2707                                     385.04    1,714,852.02
  12/13/2019    Arkansas Rooter, Inc.          Check       2708                                     150.00    1,714,702.02
  12/13/2019    Binswanger Enterprises, LLC    Check       2709                                     889.76    1,713,812.26
                dba Binswanger Glass
  12/13/2019    Binswanger Enterprises, LLC    Check       2709                                     350.00    1,713,462.26
                dba Binswanger Glass
  12/13/2019    Cintas Corporation #065        Check       2710                                       65.90   1,713,396.36
  12/13/2019    Cintas Corporation #065        Check       2710                                       65.90   1,713,330.46
  12/13/2019    Cintas Corporation #065        Check       2710                                       65.90   1,713,264.56
  12/13/2019    Cintas Corporation #065        Check       2710                                       65.90   1,713,198.66
  12/13/2019    Colliers Arkansas, Inc. dba    Check       2711                                     393.00    1,712,805.66 December 2019
                Colliers International
  12/13/2019    Color Me Bad, LLC              Check       2712                                    2,530.00   1,710,275.66
  12/13/2019    Comcast A                      Check       2713                                     164.21    1,710,111.45
  12/13/2019    Comfort Systems USA            Check       2714                                    2,397.28   1,707,714.17
                (Arkansas), Inc.
  12/13/2019    Comfort Systems USA            Check       2714                                    2,052.74   1,705,661.43
                (Arkansas), Inc.
  12/13/2019    Comfort Systems USA            Check       2714                                     198.87    1,705,462.56
                (Arkansas), Inc.
  12/13/2019    D & N Construction             Check       2715                                    5,452.00   1,700,010.56
  12/13/2019    D & N Construction             Check       2715                                    2,860.00   1,697,150.56
  12/13/2019    D & N Construction             Check       2715                                   16,291.00   1,680,859.56
  12/13/2019    D & N Construction             Check       2715                                   31,299.00   1,649,560.56
  12/13/2019    D & N Construction             Check       2715                                   22,989.00   1,626,571.56
  12/13/2019    Deloitte LLP                   Check       2716                                  285,040.00   1,341,531.56 Tenant Improve Allowance
  12/13/2019    Harrison Energy Partners       Check       2717                                    6,131.26   1,335,400.30
  12/13/2019    Harrison Energy Partners       Check       2717                                     778.26    1,334,622.04
  12/13/2019    Laidlaw, Inc.                  Check       2718                                    4,497.22   1,330,124.82
  12/13/2019    Laidlaw, Inc.                  Check       2718                                   34,580.47   1,295,544.35
  12/13/2019    Laurie Miller dba The Velvet   Check       2719                                    4,300.00   1,291,244.35
                Boxwood
  12/13/2019    McGhee Real Estate Services,   Check       2720                                     683.21    1,290,561.14
                Inc.



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General Ledger
     Date        Payee / Payer               Type        Reference                Debit         Credit        Balance Description
  12/13/2019    Newmark Moses Tucker         Check       2721                                  12,166.82    1,278,394.32
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                    476.27     1,277,918.05
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                     22.92     1,277,895.13
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                    489.02     1,277,406.11
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                     22.92     1,277,383.19
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                    484.38     1,276,898.81
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                    476.27     1,276,422.54
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                     22.92     1,276,399.62
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                    489.02     1,275,910.60
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2721                                     22.92     1,275,887.68
                Partners
  12/13/2019    Newmark Moses Tucker         Check       2722                                    484.38     1,275,403.30
                Partners
  12/13/2019    OTIS Elevator Company        Check       2723                                  12,600.50    1,262,802.80
  12/13/2019    OTIS Elevator Company        Check       2723                                    727.56     1,262,075.24
  12/13/2019    Perks Key & Lock             Check       2724                                     97.01     1,261,978.23
  12/13/2019    Perks Key & Lock             Check       2724                                    236.53     1,261,741.70
  12/13/2019    Plantation Services, Inc     Check       2725                                    665.75     1,261,075.95
  12/13/2019    Powers of Arkansas, Inc.     Check       2726                                    313.38     1,260,762.57
  12/13/2019    Pro Wash, Inc.               Check       2727                                    900.00     1,259,862.57
  12/13/2019    Pro Wash, Inc.               Check       2727                                    757.55     1,259,105.02
  12/13/2019    R & E Supply                 Check       2728                                   1,044.52    1,258,060.50
  12/13/2019    Red Hawk Fire & Security     Check       2729                                  22,105.00    1,235,955.50
  12/13/2019    Simplex Grinnell             Check       2730                                   3,575.48    1,232,380.02
  12/13/2019    Simplex Grinnell             Check       2730                                   3,575.48    1,228,804.54
  12/13/2019    Simplex Grinnell             Check       2730                                   3,577.69    1,225,226.85
  12/13/2019    Terminix International, LP   Check       2731                                    353.16     1,224,873.69
  12/13/2019    Tyco Fire & Security (US)    Check       2732                                    624.73     1,224,248.96
                Management INC
  12/13/2019    Veritext LLC                 Check       2733                                    828.15     1,223,420.81


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General Ledger
     Date        Payee / Payer                 Type             Reference                Debit         Credit        Balance Description
  12/13/2019    Waste Management of Little     Check            2734                                     26.02     1,223,394.79
                Rock Hauling
  12/13/2019    Waste Management of Little     Check            2734                                   3,276.62    1,220,118.17
                Rock Hauling
  12/13/2019    Whelan Security Co dba         Check            2735                                  10,923.56    1,209,194.61
                GardaWorld Security Services
  12/13/2019    MTEH, LLC                      Check            2736                                   6,428.38    1,202,766.23 11/29/19 Payroll Reimb
  12/13/2019    MTEH, LLC                      Check            2736                                   3,680.04    1,199,086.19 11/29/19 Payroll Reimb
  12/13/2019    MTEH, LLC                      Check            2736                    1,057.83                   1,200,144.02
  12/13/2019    MTEH, LLC                      Check            2736                                   3,680.03    1,196,463.99
  12/13/2019    MTEH, LLC                      Check            2736                                    200.00     1,196,263.99
  12/13/2019    MTEH, LLC                      Check            2736                                   6,258.04    1,190,005.95
  12/13/2019    MTEH, LLC                      Check            2736                                   3,584.18    1,186,421.77
  12/13/2019    MTEH, LLC                      Check            2736                                    200.00     1,186,221.77
  12/16/2019    Seth Denison                   Reversed Check   2737                                    672.89     1,185,548.88 Reimbursement for travel
                                                                                                                                expenses (american airlines +
                                                                                                                                uber)
  12/16/2019    Seth Denison                   Reverse Check    2737                     672.89                    1,186,221.77 Reimbursement for travel
                                                                                                                                expenses (american airlines +
                                                                                                                                uber)
  12/16/2019    Seth Denison                   Check            2738                                    672.89     1,185,548.88 Reimbursement for travel
                                                                                                                                expenses (american airlines +
                                                                                                                                uber)
  12/17/2019    Flint's Just Like Mom's        Check            2739                                   3,738.53    1,181,810.35
  12/17/2019    R & E Supply                   Check            2740                                     96.77     1,181,713.58
  12/17/2019    Entergy                        Check            2741                                  83,860.16    1,097,853.42
  12/20/2019    Voya Services Company fka ING Receipt           TRANSFER                2,093.51                   1,099,946.93 Prepaid Any
                N.A. Insurance Corp
  12/20/2019    Southwestern Electric Power    Receipt          TRANSFER                2,669.55                   1,102,616.48 Prepaid Any
                Company
  12/24/2019    Jessica T Enterprises, Inc     eCheck receipt   2145-EAE0               1,723.53                   1,104,340.01 Online Payment
  12/27/2019    The Design Group               Receipt          MXN9-891L                   0.06                   1,104,340.07
  12/27/2019    The Design Group               Receipt          MXN9-891L               4,858.55                   1,109,198.62
  12/30/2019    ATT                            Check            2742                                    146.36     1,109,052.26
  12/30/2019    ATT                            Check            2742                                    108.83     1,108,943.43
  12/30/2019    MTEH, LLC                      Check            2743                                   8,333.40    1,100,610.03 Lease Fee-Wison Carroll
                                                                                                                                Research Svcs 12/01/*19-12/30/
                                                                                                                                24
  12/30/2019    The Little Rock Club, Inc      Receipt          4M1C-891L              10,000.00                   1,110,610.03


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General Ledger
     Date        Payee / Payer                 Type          Reference                Debit          Credit       Balance Description
  12/31/2019    Richard A. Stephens &          Receipt       43B9-XWXK                900.80                    1,111,510.83
                Associates, Inc.
  12/31/2019    Munson Rowlett Moore & Boone, Receipt        53B9-XWXK              23,965.53                   1,135,476.36 Prepaid Any
                P.A.
  12/31/2019    Progressive Parking            Receipt       63B9-XWXK              25,000.00                   1,160,476.36
  12/31/2019    BSI                            Receipt       73B9-XWXK               3,231.33                   1,163,707.69
  12/31/2019                                   JE                                                     158.69    1,163,549.00 Bank service charge
Net Change                                                                                                       -150,338.03
                                                                                   674,587.76      824,925.79   1,163,549.00

 1101-1000 - Operating Cash
Starting                                                                                                         488,990.53
Balance
Net Change                                                                                                              0.00
                                                                                         0.00            0.00    488,990.53

 1101-1001 - Operating Cash
Starting                                                                                                          11,093.22
Balance
Net Change                                                                                                              0.00
                                                                                         0.00            0.00     11,093.22

 1102-0000 - Security Deposit Escrow Account
Starting                                                                                                          51,692.84
Balance
  12/01/2019                                   Reversed JE                           7,741.38                     59,434.22 s/d $ to s/d account (Reversed
                                                                                                                            on 12/01/2019)
  12/01/2019                                   Reverse JE                                            7,741.38     51,692.84 Reverse Journal Entry s/d $ to s/
                                                                                                                            d account
Net Change                                                                                                              0.00
                                                                                     7,741.38        7,741.38     51,692.84

 1138-0000 - Petty Cash
Starting                                                                                                             500.00
Balance
Net Change                                                                                                              0.00
                                                                                         0.00            0.00        500.00




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General Ledger
     Date        Payee / Payer                 Type        Reference                Debit         Credit         Balance Description
 1199-0003 - TILC General Reserve
Starting                                                                                                        860,218.75
Balance
Net Change                                                                                                             0.00
                                                                                     0.00             0.00      860,218.75

 1200-0500 - AR - Other
Starting                                                                                                            360.00
Balance
Net Change                                                                                                             0.00
                                                                                     0.00             0.00          360.00

 1220-0000 - Prepaid Expenses
Starting                                                                                                         66,955.37
Balance
Net Change                                                                                                             0.00
                                                                                     0.00             0.00       66,955.37

 1301-0000 - Land
Starting                                                                                                       3,140,000.00
Balance
Net Change                                                                                                             0.00
                                                                                     0.00             0.00     3,140,000.00

 1301-0061 - Land Improvements - Landscaping
Starting                                                                                                           1,962.00
Balance
  12/31/2019                                   JE                                                 1,962.00             0.00 re-class
Net Change                                                                                                        -1,962.00
                                                                                     0.00         1,962.00             0.00

 1301-1000 - Building
Starting                                                                                                      32,110,000.00
Balance
Net Change                                                                                                             0.00
                                                                                     0.00             0.00    32,110,000.00




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General Ledger
     Date        Payee / Payer               Type        Reference                Debit         Credit        Balance Description
 1301-1001 - Building - Legal Fees
Starting                                                                                                        2,035.00
Balance
  12/31/2019                                 JE                                                 2,035.00            0.00 re-class
Net Change                                                                                                     -2,035.00
                                                                                   0.00         2,035.00            0.00

 1301-1009 - Building - Soil-Environmental
Starting                                                                                                      30,553.00
Balance
Net Change                                                                                                          0.00
                                                                                   0.00             0.00      30,553.00

 1301-1031 - Building - Window Treatments
Starting                                                                                                        5,240.00
Balance
  12/31/2019                                 JE                                                 5,240.00            0.00 re-class
Net Change                                                                                                     -5,240.00
                                                                                   0.00         5,240.00            0.00

 1307-0000 - Building Improvements
Starting                                                                                                    7,306,099.29
Balance
Net Change                                                                                                          0.00
                                                                                   0.00             0.00    7,306,099.29

 1309-0000 - Tenant Improvements
Starting                                                                                                    7,980,024.82
Balance
Net Change                                                                                                          0.00
                                                                                   0.00             0.00    7,980,024.82

 1309-0001 - Tenant Finish
Starting                                                                                                        6,723.42
Balance
Net Change                                                                                                          0.00
                                                                                   0.00             0.00        6,723.42




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General Ledger
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 1309-0100 - CIP - Tenant Improvements
Starting                                                                                                        0.00
Balance
  12/13/2019    Deloitte LLP             Check       2716                  285,040.00                    285,040.00 Tenant Improve Allowance
Net Change                                                                                               285,040.00
                                                                           285,040.00         0.00       285,040.00

 1350-0000 - Appliances
Starting                                                                                                  12,317.00
Balance
Net Change                                                                                                      0.00
                                                                                 0.00         0.00        12,317.00

 1410-0000 - Furniture and Fixtures
Starting                                                                                                  17,037.53
Balance
Net Change                                                                                                      0.00
                                                                                 0.00         0.00        17,037.53

 1415-0000 - Security System
Starting                                                                                                    3,856.91
Balance
Net Change                                                                                                      0.00
                                                                                 0.00         0.00          3,856.91

 1601-0000 - Closing Costs
Starting                                                                                                1,241,869.56
Balance
Net Change                                                                                                      0.00
                                                                                 0.00         0.00      1,241,869.56

 1605-0000 - Loan Costs
Starting                                                                                                 448,303.00
Balance
Net Change                                                                                                      0.00
                                                                                 0.00         0.00       448,303.00

 1605-0500 - Leasing Commissions
Starting                                                                                                1,835,267.17
Balance
Net Change                                                                                                      0.00
                                                                                 0.00         0.00      1,835,267.17


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General Ledger
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 1605-2000 - Legal Fees
Starting                                                                                                       161,355.37
Balance
  12/13/2019    Veritext LLC                    Check       2733                     828.15                    162,183.52 Transcript Services
  12/31/2019                                    JE                                  2,035.00                   164,218.52 re-class
Net Change                                                                                                       2,863.15
                                                                                    2,863.15            0.00   164,218.52

 2111-0230 - AP - Other
Starting                                                                                                           178.21
Balance
Net Change                                                                                                           0.00
                                                                                        0.00            0.00       178.21

 2132-0000 - Prepaid Income
Starting                                                                                                        -51,231.18
Balance
  12/01/2019    Regions Bank                    Receipt                             2,468.81                    -48,762.37
  12/01/2019    Regions Bank                    Receipt                             2,468.81                    -46,293.56
  12/01/2019    Deloitte LLP                    Receipt                            18,717.63                    -27,575.93
  12/01/2019    Deloitte LLP                    Receipt                            17,507.37                    -10,068.56
  12/01/2019    Southwestern Electric Power     Receipt                             2,669.55                     -7,399.01
                Company
  12/01/2019    Voya Services Company fka ING Receipt                                   0.02                     -7,398.99
                N.A. Insurance Corp
  12/01/2019    Voya Services Company fka ING Receipt                               2,093.49                     -5,305.50
                N.A. Insurance Corp
  12/01/2019    The Payroll Company of          Receipt                              508.73                      -4,796.77
                Arkansas, LLC
  12/01/2019    Jessica T Enterprises, Inc      Receipt                             1,723.53                     -3,073.24
  12/01/2019    Steel, Wright & Collier, PLLC   Receipt                             2,791.69                      -281.55
  12/01/2019    Regions Bank                    Receipt                              281.53                          -0.02 Prepaid None
  12/04/2019    Regions Bank                    Receipt     TX1F-VWXK                             191,269.77   -191,269.79 Prepaid Any
  12/04/2019    Regions Bank                    Receipt     WX1F-VWXK                               2,468.81   -193,738.60 Prepaid Any
  12/04/2019    Regions Bank                    Receipt                           153,653.13                    -40,085.47
  12/04/2019    Regions Bank                    Receipt                             2,468.81                    -37,616.66
  12/05/2019    Deloitte LLP                    Receipt     TRANSFER                               36,225.00    -73,841.66 Prepaid Any
  12/20/2019    Voya Services Company fka ING Receipt       TRANSFER                                2,093.51    -75,935.17 Prepaid Any
                N.A. Insurance Corp


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General Ledger
     Date        Payee / Payer                Type             Reference                Debit          Credit         Balance Description
  12/20/2019    Southwestern Electric Power   Receipt          TRANSFER                                2,669.55       -78,604.72 Prepaid Any
                Company
  12/24/2019    Jessica T Enterprises, Inc    eCheck receipt   2145-EAE0                               1,723.53       -80,328.25 Online Payment
  12/31/2019    Munson Rowlett Moore & Boone, Receipt          53B9-XWXK                              23,965.53     -104,293.78 Prepaid Any
                P.A.
Net Change                                                                                                            -53,062.60
                                                                                     207,353.10      260,415.70     -104,293.78

 2138-0000 - Security Deposits
Starting                                                                                                              -59,434.22
Balance
Net Change                                                                                                                 0.00
                                                                                           0.00            0.00       -59,434.22

 2138-0030 - Refund Clearing Account
Starting                                                                                                                 111.00
Balance
Net Change                                                                                                                 0.00
                                                                                           0.00            0.00          111.00

 2141-0000 - Withholding Taxes - Investors
Starting                                                                                                               3,550.00
Balance
Net Change                                                                                                                 0.00
                                                                                           0.00            0.00        3,550.00

 2206-0000 - Note Payable
Starting                                                                                                          -30,054,803.80
Balance
Net Change                                                                                                                 0.00
                                                                                           0.00            0.00   -30,054,803.80

 3107-2000 - Retained Earnings
Starting                                                                                                          -20,456,071.70
Balance
Net Change                                                                                                                 0.00
                                                                                           0.00            0.00   -20,456,071.70




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General Ledger
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 3112-0100 - Contributions LLC
Starting                                                                                                       -5,670,844.15
Balance
Net Change                                                                                                             0.00
                                                                                      0.00             0.00    -5,670,844.15

 3112-0500 - Distributions LLC
Starting                                                                                                         579,298.40
Balance
Net Change                                                                                                             0.00
                                                                                      0.00             0.00      579,298.40

 3112-1000 - Contributions TIC
Starting                                                                                                       -9,079,368.00
Balance
Net Change                                                                                                             0.00
                                                                                      0.00             0.00    -9,079,368.00

 3112-2000 - Distributions TIC
Starting                                                                                                       9,168,104.29
Balance
Net Change                                                                                                             0.00
                                                                                      0.00             0.00    9,168,104.29

 4001-0000 - Rent
Starting                                                                                                       -6,516,422.79
Balance
  12/01/2019    Regions Bank                    Receipt                                            2,468.81    -6,518,891.60
  12/01/2019    Regions Bank                    Receipt                                            2,468.81    -6,521,360.41
  12/01/2019    Deloitte LLP                    Receipt                                           18,717.63    -6,540,078.04
  12/01/2019    Deloitte LLP                    Receipt                                           17,507.37    -6,557,585.41
  12/01/2019    Southwestern Electric Power     Receipt                                            2,669.55    -6,560,254.96
                Company
  12/01/2019    Voya Services Company fka ING Receipt                                                  0.02    -6,560,254.98
                N.A. Insurance Corp
  12/01/2019    Voya Services Company fka ING Receipt                                              2,093.49    -6,562,348.47
                N.A. Insurance Corp
  12/01/2019    The Payroll Company of          Receipt                                             508.73     -6,562,857.20
                Arkansas, LLC
  12/01/2019    Jessica T Enterprises, Inc      Receipt                                            1,723.53    -6,564,580.73
  12/01/2019    Steel, Wright & Collier, PLLC   Receipt                                            2,791.69    -6,567,372.42


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General Ledger
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  12/01/2019    Matthew White                      eCheck receipt    2F82-817E                              5,628.00    -6,573,000.42 December 2019
  12/01/2019    Ghidotti Communications, LLC       eCheck receipt    4167-8D58                              4,047.83    -6,577,048.25 December 2019
  12/01/2019    Regions Bank                       Receipt                                                   281.53     -6,577,329.78 December 2019
  12/02/2019    Franke's Inc                       Reverse Receipt                           4,000.00                   -6,573,329.78 NSF reversal receipt for
                                                                                                                                      Reference #KRD3-TWXK
  12/02/2019    Franke's Inc                       Reverse Receipt                           1,165.28                   -6,572,164.50 NSF reversal receipt for
                                                                                                                                      Reference #KRD3-TWXK
  12/04/2019    Arkansas Anti-Aging P.A.           Receipt           LX1F-VWXK                              1,602.67    -6,573,767.17
  12/04/2019    Twentieth Floor Corporation        Receipt           MX1F-VWXK                               376.38     -6,574,143.55 0105A
  12/04/2019    Twentieth Floor Corporation        Receipt           MX1F-VWXK                             20,854.72    -6,594,998.27 2000
  12/04/2019    Twentieth Floor Corporation        Receipt           MX1F-VWXK                             20,854.72    -6,615,852.99 2100
  12/04/2019    Twentieth Floor Corporation        Receipt           MX1F-VWXK                             20,854.72    -6,636,707.71 2200
  12/04/2019    Twentieth Floor Corporation        Receipt           MX1F-VWXK                             14,146.30    -6,650,854.01 2300
  12/04/2019    ARCare                             Receipt           NX1F-VWXK                              5,663.06    -6,656,517.07
  12/04/2019    Baird, Kurtz & Dobson              Receipt           PX1F-VWXK                             36,991.40    -6,693,508.47
  12/04/2019    Wittenberg, Delony & Davidson      Receipt           QX1F-VWXK                             12,534.08    -6,706,042.55
  12/04/2019    Wittenberg, Delony & Davidson      Receipt           RX1F-VWXK                               314.40     -6,706,356.95
  12/04/2019    The Women's Foundation of          Receipt           SX1F-VWXK                              1,449.00    -6,707,805.95
                Arkansas
  12/04/2019    Regions Bank                       Receipt           TX1F-VWXK                             30,416.43    -6,738,222.38
  12/04/2019    Rasco, Winter, Abston, Moore &     Receipt           VX1F-VWXK                             13,316.74    -6,751,539.12
                Associates, LLP
  12/04/2019    Whelan Security Co.                Receipt           XX1F-VWXK                                97.81     -6,751,636.93
  12/04/2019    Whelan Security Co.                Receipt           XX1F-VWXK                              1,853.32    -6,753,490.25
  12/04/2019    Wilson Carroll Research            Receipt           YX1F-VWXK                              5,593.65    -6,759,083.90
                Services LLC
  12/04/2019    Disability Rights Arkansas, Inc.   Receipt           N3S3-VWXK                              7,667.17    -6,766,751.07
  12/04/2019    Disability Rights Arkansas, Inc.   Receipt           N3S3-VWXK                              2,585.24    -6,769,336.31
  12/04/2019    The Communications Group, Inc. Receipt               P3S3-VWXK                              9,173.34    -6,778,509.65
  12/04/2019    Munson Rowlett Moore & Boone, Receipt                Q3S3-VWXK                             23,965.53    -6,802,475.18
                P.A.
  12/04/2019    Airfirst, Inc.                     Receipt           R3S3-VWXK                              2,129.80    -6,804,604.98
  12/04/2019    Airfirst, Inc.                     Receipt           R3S3-VWXK                              3,937.13    -6,808,542.11
  12/04/2019    W. Lyn Fruchey                     Receipt           S3S3-VWXK                                  0.20    -6,808,542.31
  12/04/2019    W. Lyn Fruchey                     Receipt           S3S3-VWXK                              1,828.00    -6,810,370.31
  12/04/2019    Wilson & Associates, PLLC          Receipt           T3S3-VWXK                             38,314.13    -6,848,684.44



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  12/04/2019    GDH Consulting, Inc.          Receipt     ZZHC-VWXK                               1,513.33   -6,850,197.77
  12/04/2019    The Design Group              Receipt     00JC-VWXK                               4,858.61   -6,855,056.38
  12/04/2019    Regions Bank                  Receipt                                            47,332.93   -6,902,389.31 December 2019
  12/04/2019    Regions Bank                  Receipt                                             2,489.14   -6,904,878.45 December 2019
  12/04/2019    Regions Bank                  Receipt                                            17,861.41   -6,922,739.86 December 2019
  12/04/2019    Regions Bank                  Receipt                                            19,729.85   -6,942,469.71 December 2019
  12/04/2019    Regions Bank                  Receipt                                            19,743.76   -6,962,213.47 December 2019
  12/04/2019    Regions Bank                  Receipt                                            19,662.85   -6,981,876.32 December 2019
  12/04/2019    Regions Bank                  Receipt                                            11,579.77   -6,993,456.09 December 2019
  12/04/2019    Regions Bank                  Receipt                                            10,359.13   -7,003,815.22 December 2019
  12/04/2019    Regions Bank                  Receipt                                             9,860.50   -7,013,675.72 December 2019
  12/04/2019    Regions Bank                  Receipt                                            17,632.60   -7,031,308.32 December 2019
  12/05/2019    Deloitte LLP                  Receipt     TRANSFER                               17,898.88   -7,049,207.20 December 2019
  12/09/2019    Bradford Media Group, LLC     Receipt     K8RY-VWXK                               2,469.35   -7,051,676.55
  12/09/2019    Anderson, Murphy & Hopkins,   Receipt     M8RY-VWXK                              29,504.87   -7,081,181.42
                LLP
  12/09/2019    The Payroll Company of        Receipt     L8RY-VWXK                               4,578.52   -7,085,759.94
                Arkansas, LLC
  12/27/2019    The Design Group              Receipt     MXN9-891L                                   0.06   -7,085,760.00
  12/27/2019    The Design Group              Receipt     MXN9-891L                               4,858.55   -7,090,618.55
  12/30/2019    The Little Rock Club, Inc     Receipt     4M1C-891L                              10,000.00   -7,100,618.55
  12/31/2019    Richard A. Stephens &         Receipt     43B9-XWXK                                900.80    -7,101,519.35
                Associates, Inc.
Net Change                                                                                                    -585,096.56
                                                                                  5,165.28      590,261.84   -7,101,519.35

 4005-0000 - Percentage Rent
Starting                                                                                                       -17,165.28
Balance
Net Change                                                                                                           0.00
                                                                                      0.00            0.00     -17,165.28

 4006-0000 - CAM Income
Starting                                                                                                      -129,774.79
Balance
  12/04/2019    Regions Bank                  Receipt     TX1F-VWXK                               1,981.06    -131,755.85
  12/04/2019    Regions Bank                  Receipt                                             2,631.34    -134,387.19 December 2019
  12/04/2019    Regions Bank                  Receipt                                              138.38     -134,525.57 December 2019


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  12/04/2019    Regions Bank                    Receipt                                             992.95     -135,518.52 December 2019
  12/04/2019    Regions Bank                    Receipt                                            1,096.82    -136,615.34 December 2019
  12/04/2019    Regions Bank                    Receipt                                            1,097.60    -137,712.94 December 2019
  12/04/2019    Regions Bank                    Receipt                                            1,093.10    -138,806.04 December 2019
  12/04/2019    Regions Bank                    Receipt                                             643.74     -139,449.78 December 2019
  12/04/2019    Regions Bank                    Receipt                                             576.35     -140,026.13 December 2019
  12/04/2019    Regions Bank                    Receipt                                             548.17     -140,574.30 December 2019
  12/04/2019    Regions Bank                    Receipt                                             980.23     -141,554.53 December 2019
Net Change                                                                                                      -11,779.74
                                                                                      0.00        11,779.74    -141,554.53

 4007-0000 - Late Fee Income
Starting                                                                                                           -190.41
Balance
  12/04/2019    Whelan Security Co.             Receipt     XX1F-VWXK                                  4.90        -195.31 Late Fee for Nov 2019
  12/04/2019    Airfirst, Inc.                  Receipt     R3S3-VWXK                               106.49         -301.80 Late Fee for Nov 2019
  12/09/2019    Bradford Media Group, LLC       Receipt     K8RY-VWXK                               274.38         -576.18 Late Fee for Oct 2019
Net Change                                                                                                         -385.77
                                                                                      0.00          385.77         -576.18

 4014-0000 - Storage Income
Starting                                                                                                         -4,679.10
Balance
  12/04/2019    Twentieth Floor Corporation     Receipt     MX1F-VWXK                               429.18       -5,108.28 Storage 4
Net Change                                                                                                         -429.18
                                                                                      0.00          429.18       -5,108.28

 4015-0000 - Telecom Income
Starting                                                                                                        -34,669.63
Balance
  12/31/2019    BSI                             Receipt     73B9-XWXK                              3,231.33     -37,900.96
Net Change                                                                                                       -3,231.33
                                                                                      0.00         3,231.33     -37,900.96

 4021-0001 - Parking Income - Non Taxable
Starting                                                                                                       -353,069.81
Balance
  12/11/2019    Progressive Parking Solutions   Receipt     16596                                 10,868.88    -363,938.69




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  12/31/2019    Progressive Parking            Receipt     63B9-XWXK                             25,000.00    -388,938.69
Net Change                                                                                                     -35,868.88
                                                                                       0.00      35,868.88    -388,938.69

 4029-0000 - Vending Income
Starting                                                                                                          -125.00
Balance
  12/31/2019                                   JE                                                   25.00         -150.00 re-class
Net Change                                                                                                         -25.00
                                                                                       0.00         25.00         -150.00

 5006-0000 - Onsite Engineer and Maintenance
Starting                                                                                                      148,331.93
Balance
  12/13/2019    Newmark Moses Tucker           Check       2721                     476.27                    148,808.20 Jesse Adams - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                      22.92                    148,831.12 Sam Egbert - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                     489.02                    149,320.14 Roy Ellis - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                     476.27                    149,796.41 Jesse Adams - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                      22.92                    149,819.33 Sam Egbert - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                     489.02                    150,308.35 Roy Ellis - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    MTEH, LLC                      Check       2736                    6,428.38                   156,736.73 11/29/19 Payroll Reimb
  12/13/2019    MTEH, LLC                      Check       2736                                   1,057.83    155,678.90 11/15/19 Payroll
  12/13/2019    MTEH, LLC                      Check       2736                    6,258.04                   161,936.94 12/13/19 Payroll Reimb
Net Change                                                                                                     13,605.01
                                                                                  14,662.84       1,057.83    161,936.94

 5007-0000 - Onsite Management
Starting                                                                                                       83,041.57
Balance
  12/13/2019    Newmark Moses Tucker           Check       2721                      22.92                     83,064.49 Danica Jones - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                     484.38                     83,548.87 Tiffany Martin - Insurance
                Partners                                                                                                 Reimbursement
  12/13/2019    Newmark Moses Tucker           Check       2721                      22.92                     83,571.79 Danica Jones - Insurance
                Partners                                                                                                 Reimbursement


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     Date        Payee / Payer               Type        Reference                Debit         Credit      Balance Description
  12/13/2019    Newmark Moses Tucker         Check       2722                     484.38                     84,056.17 Tiffany Martin - Insurance
                Partners                                                                                               Reimbursement
  12/13/2019    MTEH, LLC                    Check       2736                    3,680.04                    87,736.21 11/29/19 Payroll Reimb
  12/13/2019    MTEH, LLC                    Check       2736                    3,680.03                    91,416.24 11/15/19 Payroll
  12/13/2019    MTEH, LLC                    Check       2736                    3,584.18                    95,000.42 12/13/19 Payroll Reimb
Net Change                                                                                                   11,958.85
                                                                                11,958.85         0.00       95,000.42

 5035-0000 - Employee Screening
Starting                                                                                                         75.00
Balance
Net Change                                                                                                        0.00
                                                                                     0.00         0.00           75.00

 5042-0000 - Payroll Other/Temp Services
Starting                                                                                                      2,474.09
Balance
Net Change                                                                                                        0.00
                                                                                     0.00         0.00        2,474.09

 5201-0000 - Appliance Maintenance CM
Starting                                                                                                       970.08
Balance
Net Change                                                                                                        0.00
                                                                                     0.00         0.00         970.08

 5204-0000 - Building Repairs and Maintenance CM
Starting                                                                                                    427,845.35
Balance
  12/13/2019    D & N Construction           Check       2715                    2,860.00                   430,705.35 Redo 26th Floor Office
  12/13/2019    D & N Construction           Check       2715                   16,291.00                   446,996.35 12th Floor Office Renovation
  12/13/2019    D & N Construction           Check       2715                   31,299.00                   478,295.35 Misc Work 9/20/19-11/29/19
  12/13/2019    D & N Construction           Check       2715                   22,989.00                   501,284.35 Misc Work 3/23-5/29
Net Change                                                                                                   73,439.00
                                                                                73,439.00         0.00      501,284.35

 5207-0000 - Carpet and Floor Cleaning and Repairs CM
Starting                                                                                                      3,465.48
Balance
  12/13/2019    Cintas Corporation #065      Check       2710                      65.90                      3,531.38 11/12/19 Mat Service



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  12/13/2019    Cintas Corporation #065        Check       2710                      65.90                      3,597.28 11/19/19 Mat Service
  12/13/2019    Cintas Corporation #065        Check       2710                      65.90                      3,663.18 11/25/19 Mat Service
  12/13/2019    Cintas Corporation #065        Check       2710                      65.90                      3,729.08 12/3/19 Mat Service
Net Change                                                                                                       263.60
                                                                                    263.60          0.00        3,729.08

 5208-0000 - Chemical Water Treatment CM
Starting                                                                                                        1,020.60
Balance
Net Change                                                                                                          0.00
                                                                                       0.00         0.00        1,020.60

 5211-0000 - Dock Repairs and Maintenance CM
Starting                                                                                                       49,733.10
Balance
Net Change                                                                                                          0.00
                                                                                       0.00         0.00       49,733.10

 5212-0000 - Door and Lock Repairs CM
Starting                                                                                                        3,460.48
Balance
  12/13/2019    Perks Key & Lock               Check       2724                      97.01                      3,557.49 Rekey 13th Floor
  12/13/2019    Perks Key & Lock               Check       2724                     236.53                      3,794.02 26th Floor Rekey
Net Change                                                                                                       333.54
                                                                                    333.54          0.00        3,794.02

 5213-0000 - Drape and Blind Repairs CM
Starting                                                                                                        3,361.85
Balance
  12/13/2019    AR Shades Blinds & Shutters Inc Check      2705                    1,295.00                     4,656.85 Furnished/Installed Blinds. 12th
                                                                                                                         Floor
  12/31/2019                                   JE                                  5,240.00                     9,896.85 re-class
Net Change                                                                                                      6,535.00
                                                                                   6,535.00         0.00        9,896.85

 5214-0000 - Electrical Repairs and Maint CM
Starting                                                                                                      324,782.24
Balance
Net Change                                                                                                          0.00
                                                                                       0.00         0.00      324,782.24



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General Ledger
     Date        Payee / Payer               Type        Reference                Debit         Credit      Balance Description
 5215-0000 - Elevator Repairs and Maintenance CM
Starting                                                                                                    150,801.50
Balance
  12/13/2019    OTIS Elevator Company        Check       2723                   12,600.50                   163,402.00 12/01/19-12/31/19 Service
  12/13/2019    OTIS Elevator Company        Check       2723                     727.56                    164,129.56 Survey of Elevator
Net Change                                                                                                   13,328.06
                                                                                13,328.06         0.00      164,129.56

 5216-0000 - Equipment Maintenance CM
Starting                                                                                                       100.00
Balance
Net Change                                                                                                        0.00
                                                                                     0.00         0.00         100.00

 5218-0000 - Fire and Life Safety CM
Starting                                                                                                      6,551.20
Balance
  12/13/2019    Simplex Grinnell             Check       2730                    3,575.48                    10,126.68 Quarterly Invoice Sept, Oct, Nov
  12/13/2019    Simplex Grinnell             Check       2730                    3,575.48                    13,702.16 Quarterly Invoice Dec, Jan, Feb
  12/13/2019    Simplex Grinnell             Check       2730                    3,577.69                    17,279.85 Sprinkler Check
  12/13/2019    Tyco Fire & Security (US)    Check       2732                     624.73                     17,904.58 Fire Alarm Monitoring
                Management INC
  12/31/2019                                 JE                                  3,856.91                    21,761.49 re-class
Net Change                                                                                                   15,210.29
                                                                                15,210.29         0.00       21,761.49

 5222-0000 - HVAC CM
Starting                                                                                                    211,217.71
Balance
  12/13/2019    Harrison Energy Partners     Check       2717                    6,131.26                   217,348.97 Quarterly Invoice Dec, Jan, Feb
  12/13/2019    Harrison Energy Partners     Check       2717                     778.26                    218,127.23 29th Floor Hot
  12/13/2019    Powers of Arkansas, Inc.     Check       2726                     313.38                    218,440.61 Work Station Upgrade
  12/17/2019    R & E Supply                 Check       2740                      96.77                    218,537.38 Filters
Net Change                                                                                                    7,319.67
                                                                                 7,319.67         0.00      218,537.38




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General Ledger
     Date        Payee / Payer               Type        Reference                Debit         Credit      Balance Description
 5225-0000 - Janitorial - Night Service CM
Starting                                                                                                    344,310.55
Balance
  12/13/2019    Laidlaw, Inc.                Check       2718                   34,580.47                   378,891.02 Nov 2019 Custodial Service
Net Change                                                                                                   34,580.47
                                                                                34,580.47         0.00      378,891.02

 5226-0000 - Landscaping and Grounds CM
Starting                                                                                                     32,460.81
Balance
  12/13/2019    Plantation Services, Inc     Check       2725                     665.75                     33,126.56 Interior Plant Care
  12/31/2019                                 JE                                  1,962.00                    35,088.56 re-class
Net Change                                                                                                    2,627.75
                                                                                 2,627.75         0.00       35,088.56

 5230-0000 - Painting CM
Starting                                                                                                    101,673.91
Balance
  12/13/2019    Color Me Bad, LLC            Check       2712                    2,530.00                   104,203.91 Painted 26th Floor Office
Net Change                                                                                                    2,530.00
                                                                                 2,530.00         0.00      104,203.91

 5234-0000 - Pest Control
Starting                                                                                                      3,871.68
Balance
  12/13/2019    Terminix International, LP   Check       2731                     353.16                      4,224.84 Nov 19 Pest Service
Net Change                                                                                                     353.16
                                                                                  353.16          0.00        4,224.84

 5235-0000 - Plant Services CM
Starting                                                                                                     14,995.91
Balance
Net Change                                                                                                        0.00
                                                                                     0.00         0.00       14,995.91

 5236-0000 - Plumbing CM
Starting                                                                                                    134,697.97
Balance
  12/13/2019    Arkansas Rooter, Inc.        Check       2708                     150.00                    134,847.97 Ran Line on 21
  12/13/2019    Comfort Systems USA          Check       2714                    2,397.28                   137,245.25 Ran Multiple Lines
                (Arkansas), Inc.


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General Ledger
     Date        Payee / Payer                  Type        Reference                Debit         Credit      Balance Description
  12/13/2019    Comfort Systems USA             Check       2714                    2,052.74                   139,297.99 Bathroom Redo-13th Floor
                (Arkansas), Inc.
Net Change                                                                                                       4,600.02
                                                                                    4,600.02           0.00    139,297.99

 5238-0000 - Pressure Washing
Starting                                                                                                         9,025.30
Balance
  12/13/2019    Pro Wash, Inc.                  Check       2727                     900.00                      9,925.30 Sidewalk Cleaning
  12/13/2019    Pro Wash, Inc.                  Check       2727                     757.55                     10,682.85 Nov 19 Power Washing
Net Change                                                                                                       1,657.55
                                                                                    1,657.55           0.00     10,682.85

 5241-0000 - Roof Repair CM
Starting                                                                                                          685.51
Balance
Net Change                                                                                                           0.00
                                                                                        0.00           0.00       685.51

 5242-0000 - Security Monitoring CM
Starting                                                                                                         4,702.89
Balance
  12/13/2019    Alarmco, Inc.                   Check       2707                     385.04                      5,087.93 100 Access Cards
Net Change                                                                                                        385.04
                                                                                     385.04            0.00      5,087.93

 5243-0000 - Security-Protection Equipment CM
Starting                                                                                                        12,017.71
Balance
  12/31/2019                                    JE                                                 3,856.91      8,160.80 re-class
Net Change                                                                                                      -3,856.91
                                                                                        0.00       3,856.91      8,160.80

 5245-0000 - Security Services CM
Starting                                                                                                       246,205.05
Balance
  12/13/2019    Whelan Security Co dba          Check       2735                   10,923.56                   257,128.61 11/16/19-11/26/19 Security
                GardaWorld Security Services                                                                              Service
Net Change                                                                                                      10,923.56
                                                                                   10,923.56           0.00    257,128.61




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General Ledger
     Date        Payee / Payer                Type        Reference                Debit         Credit      Balance Description
 5247-0000 - Signage Repairs CM
Starting                                                                                                      19,503.90
Balance
Net Change                                                                                                         0.00
                                                                                      0.00         0.00       19,503.90

 5248-0000 - Skywalk Maintenance
Starting                                                                                                       4,716.00
Balance
  12/13/2019    Colliers Arkansas, Inc. dba   Check       2711                     393.00                      5,109.00 Skywalk
                Colliers International
Net Change                                                                                                      393.00
                                                                                   393.00          0.00        5,109.00

 5258-0000 - Window Cleaning CM
Starting                                                                                                       1,659.58
Balance
Net Change                                                                                                         0.00
                                                                                      0.00         0.00        1,659.58

 5259-0000 - Window Repair and Maint CM
Starting                                                                                                     115,019.42
Balance
  12/13/2019    Binswanger Enterprises, LLC   Check       2709                     889.76                    115,909.18 Glass Door Install
                dba Binswanger Glass
  12/13/2019    Binswanger Enterprises, LLC   Check       2709                     350.00                    116,259.18 Remove and Dispose of 8
                dba Binswanger Glass                                                                                    Mirrors
Net Change                                                                                                     1,239.76
                                                                                  1,239.76         0.00      116,259.18

 5303-0000 - Building Supplies MS
Starting                                                                                                      20,806.18
Balance
Net Change                                                                                                         0.00
                                                                                      0.00         0.00       20,806.18

 5308-0000 - Door and Lock Supplies MS
Starting                                                                                                          54.75
Balance
Net Change                                                                                                         0.00
                                                                                      0.00         0.00           54.75




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General Ledger
     Date        Payee / Payer         Type        Reference                Debit         Credit        Balance Description
 5310-0000 - Electrical Supplies MS
Starting                                                                                               115,040.72
Balance
Net Change                                                                                                    0.00
                                                                               0.00          0.00      115,040.72

 5316-0000 - HVAC Supplies MS
Starting                                                                                                  2,791.10
Balance
  12/13/2019    R & E Supply           Check       2728                    1,044.52                       3,835.62 HVAC Supplies
Net Change                                                                                                1,044.52
                                                                           1,044.52          0.00         3,835.62

 5317-0000 - Janitorial Supplies MS
Starting                                                                                                49,526.48
Balance
  12/13/2019    Laidlaw, Inc.          Check       2718                    4,497.22                     54,023.70 Nov 19 Custodial Supplies
Net Change                                                                                                4,497.22
                                                                           4,497.22          0.00       54,023.70

 5401-0000 - Electricity US
Starting                                                                                               995,364.23
Balance
  12/17/2019    Entergy                Check       2741                   83,860.16                   1,079,224.39 Dec 19 Electric
Net Change                                                                                              83,860.16
                                                                          83,860.16          0.00     1,079,224.39

 5403-0000 - Electricity Recovery US
Starting                                                                                                      0.00
Balance
  12/11/2019    Raizcentral LLC        Receipt     1080                                     25.00           -25.00 Dec electric
  12/31/2019                           JE                                    25.00                            0.00 re-class
Net Change                                                                                                    0.00
                                                                             25.00          25.00             0.00

 5405-0000 - Fuel US
Starting                                                                                                    11.67
Balance
Net Change                                                                                                    0.00
                                                                               0.00          0.00           11.67




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General Ledger
     Date        Payee / Payer               Type        Reference                Debit         Credit      Balance Description
 5406-0000 - Garbage Removal US
Starting                                                                                                     30,451.52
Balance
  12/13/2019    Waste Management of Little   Check       2734                      26.02                     30,477.54 Nov 19 Trash Service
                Rock Hauling
  12/13/2019    Waste Management of Little   Check       2734                    3,276.62                    33,754.16 Dec 19 Waste Removal
                Rock Hauling
Net Change                                                                                                    3,302.64
                                                                                 3,302.64         0.00       33,754.16

 5410-0000 - Internet Service US
Starting                                                                                                      6,524.19
Balance
  12/13/2019    ATT                          Check       2706                      58.01                      6,582.20 Dec 19 Internet Service
  12/13/2019    ATT                          Check       2706                     105.47                      6,687.67 Dec 19 Internet Service
  12/30/2019    ATT                          Check       2742                     146.36                      6,834.03 Dec 19 Internet Service
  12/30/2019    ATT                          Check       2742                     108.83                      6,942.86 Dec 19 Internet Service
Net Change                                                                                                     418.67
                                                                                  418.67          0.00        6,942.86

 5418-0000 - Telephone US
Starting                                                                                                     12,395.60
Balance
  12/13/2019    MTEH, LLC                    Check       2736                     200.00                     12,595.60 11/15/19 Payroll
  12/13/2019    MTEH, LLC                    Check       2736                     200.00                     12,795.60 12/13/19 Payroll Reimb
Net Change                                                                                                     400.00
                                                                                  400.00          0.00       12,795.60

 5422-0000 - Television Cable US
Starting                                                                                                      1,497.94
Balance
  12/13/2019    Comcast A                    Check       2713                     164.21                      1,662.15 Nov 19 Cable Bill
Net Change                                                                                                     164.21
                                                                                  164.21          0.00        1,662.15

 5427-0000 - Water and Sewer US
Starting                                                                                                    152,445.42
Balance
Net Change                                                                                                        0.00
                                                                                     0.00         0.00      152,445.42



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General Ledger
     Date        Payee / Payer                 Type        Reference                Debit         Credit      Balance Description
 5501-0000 - Accounting Fees
Starting                                                                                                       3,363.75
Balance
Net Change                                                                                                         0.00
                                                                                       0.00           0.00     3,363.75

 5502-0000 - Advertising AS
Starting                                                                                                       2,896.17
Balance
Net Change                                                                                                         0.00
                                                                                       0.00           0.00     2,896.17

 5504-0000 - Asset Management Fees
Starting                                                                                                       8,000.00
Balance
  12/06/2019    McGhee Real Estate Services,   Check       2703                    4,000.00                   12,000.00
                Inc.
  12/31/2019                                   JE                                                12,000.00         0.00 re-class
Net Change                                                                                                    -8,000.00
                                                                                   4,000.00      12,000.00         0.00

 5507-0000 - Bank Charges AS
Starting                                                                                                        543.60
Balance
  12/31/2019                                   JE                                   158.69                      702.29 Bank service charge
Net Change                                                                                                      158.69
                                                                                    158.69            0.00      702.29

 5515-0000 - Computer Software - Exp and/or Licensing
Starting                                                                                                       1,977.25
Balance
Net Change                                                                                                         0.00
                                                                                       0.00           0.00     1,977.25

 5532-0000 - Dues and Fees AS
Starting                                                                                                        470.00
Balance
Net Change                                                                                                         0.00
                                                                                       0.00           0.00      470.00




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General Ledger
     Date        Payee / Payer            Type        Reference                Debit         Credit      Balance Description
 5533-0000 - Education and Training AS
Starting                                                                                                   1,780.00
Balance
Net Change                                                                                                     0.00
                                                                                  0.00         0.00        1,780.00

 5550-0000 - Legal Fees AS
Starting                                                                                                  27,024.55
Balance
Net Change                                                                                                     0.00
                                                                                  0.00         0.00       27,024.55

 5551-0000 - Management Fees AS
Starting                                                                                                 131,631.65
Balance
  12/13/2019    Newmark Moses Tucker      Check       2721                   12,166.82                   143,798.47 11/2019 Mgmt Fee-REG
                Partners
Net Change                                                                                                12,166.82
                                                                             12,166.82         0.00      143,798.47

 5556-0000 - Meals and Entertainment AS
Starting                                                                                                   5,065.66
Balance
Net Change                                                                                                     0.00
                                                                                  0.00         0.00        5,065.66

 5561-0000 - Misc Decorating Exp AS
Starting                                                                                                       7.87
Balance
Net Change                                                                                                     0.00
                                                                                  0.00         0.00            7.87

 5570-0000 - Office Supplies AS
Starting                                                                                                   5,425.70
Balance
Net Change                                                                                                     0.00
                                                                                  0.00         0.00        5,425.70




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General Ledger
     Date        Payee / Payer        Type        Reference                Debit          Credit      Balance Description
 5585-0000 - Postage AS
Starting                                                                                                 571.13
Balance
Net Change                                                                                                 0.00
                                                                              0.00            0.00       571.13

 5586-0000 - Printing & Copying AS
Starting                                                                                                 121.65
Balance
Net Change                                                                                                 0.00
                                                                              0.00            0.00       121.65

 5606-0000 - Suspense AS
Starting                                                                                                   0.00
Balance
  12/04/2019    Regions Bank          Receipt                                           153,653.13   -153,653.13
  12/04/2019    Regions Bank          Receipt                                             2,468.81   -156,121.94
  12/04/2019    Regions Bank          Receipt                            49,964.27                   -106,157.67 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                             2,627.52                   -103,530.15 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                            18,854.36                    -84,675.79 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                            20,826.67                    -63,849.12 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                            20,841.36                    -43,007.76 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                            20,755.95                    -22,251.81 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                            12,223.51                    -10,028.30 Payment for all spaces paid in
                                                                                                                 one check
  12/04/2019    Regions Bank          Receipt                            10,935.48                       907.18 Payment for all spaces paid in
                                                                                                                one check
  12/04/2019    Regions Bank          Receipt                            10,408.67                    11,315.85 Payment for all spaces paid in
                                                                                                                one check
  12/04/2019    Regions Bank          Receipt                            18,612.83                    29,928.68 Payment for all spaces paid in
                                                                                                                one check
  12/13/2019    Comfort Systems USA   Check       2714                     198.87                     30,127.55 Furnish/install water stop. 8th
                (Arkansas), Inc.                                                                                floor
Net Change                                                                                            30,127.55
                                                                        186,249.49      156,121.94    30,127.55


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General Ledger
     Date        Payee / Payer                 Type             Reference                Debit         Credit      Balance Description
 5608-0000 - Tenant and Client Appreciation
Starting                                                                                                             2,977.21
Balance
  12/13/2019    Laurie Miller dba The Velvet   Check            2719                    4,300.00                     7,277.21 Christmas Decorating Service
                Boxwood                                                                                                       2019
  12/17/2019    Flint's Just Like Mom's        Check            2739                    3,738.53                    11,015.74 Regions luncheon party
Net Change                                                                                                           8,038.53
                                                                                        8,038.53          0.00      11,015.74

 5610-0000 - Travel Expenses AS
Starting                                                                                                                 0.00
Balance
  12/06/2019    McGhee Real Estate Services,   Check            2703                     958.01                       958.01
                Inc.
  12/06/2019    The Westin                     Check            2704                   10,241.00                    11,199.01 Hotel fees for trial
  12/13/2019    McGhee Real Estate Services,   Check            2720                     683.21                     11,882.22
                Inc.
  12/16/2019    Seth Denison                   Reversed Check   2737                     672.89                     12,555.11
  12/16/2019    Seth Denison                   Reverse Check    2737                                    672.89      11,882.22
  12/16/2019    Seth Denison                   Check            2738                     672.89                     12,555.11
Net Change                                                                                                          12,555.11
                                                                                       13,228.00        672.89      12,555.11

 5705-0000 - Property Insurance
Starting                                                                                                           105,523.20
Balance
Net Change                                                                                                               0.00
                                                                                            0.00          0.00     105,523.20

 5711-0000 - Real Estate Taxes
Starting                                                                                                           429,756.00
Balance
Net Change                                                                                                               0.00
                                                                                            0.00          0.00     429,756.00

 6201-1000 - Asset Management Fees NR
Starting                                                                                                            28,000.00
Balance
  12/31/2019                                   JE                                      12,000.00                    40,000.00 re-class
Net Change                                                                                                          12,000.00
                                                                                       12,000.00          0.00      40,000.00


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General Ledger
     Date        Payee / Payer                Type        Reference                Debit         Credit        Balance Description

 6204-0000 - Legal Fees AS NR
Starting                                                                                                             0.00
Balance
  12/06/2019    DLS Discovery, LLC            Check       2702                    5,500.00                       5,500.00 12/2019 Trial Room Fee
Net Change                                                                                                       5,500.00
                                                                                  5,500.00         0.00          5,500.00

 6205-1000 - Non-Building Compliance and Reg Fees NR
Starting                                                                                                      198,361.85
Balance
Net Change                                                                                                           0.00
                                                                                      0.00         0.00       198,361.85

 6302-0000 - Mortgage Interest
Starting                                                                                                     1,782,000.00
Balance
  12/03/2019                                  JE                                162,000.00                   1,944,000.00 Wire to Region's Lender - Per
                                                                                                                          TM Request
Net Change                                                                                                    162,000.00
                                                                                162,000.00         0.00      1,944,000.00

 6404-0000 - Exterior Building Improvements
Starting                                                                                                             0.00
Balance
  12/13/2019    D & N Construction            Check       2715                    5,452.00                       5,452.00 Replace Exterior Ceiling
                                                                                                                          Canopies
Net Change                                                                                                       5,452.00
                                                                                  5,452.00         0.00          5,452.00

 6408-0000 - Interior Building Improvements
Starting                                                                                                      215,808.87
Balance
  12/13/2019    Red Hawk Fire & Security      Check       2729                   22,105.00                    237,913.87 New Directories
Net Change                                                                                                     22,105.00
                                                                                 22,105.00         0.00       237,913.87




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General Ledger
     Date        Payee / Payer     Type        Reference                 Debit           Credit       Balance Description
 6410-0000 - Leasing Commissions
Starting                                                                                              95,501.47
Balance
  12/30/2019    MTEH, LLC          Check       2743                     8,333.40                     103,834.87 Lease Fee-Wison Carroll
                                                                                                                Research Svcs 12/01/*19-12/30/
                                                                                                                24
Net Change                                                                                              8,333.40
                                                                        8,333.40             0.00    103,834.87

 6414-0000 - Tenant Finish
Starting                                                                                                2,302.00
Balance
Net Change                                                                                                  0.00
                                                                            0.00             0.00       2,302.00



Total                                                               1,918,036.18     1,918,036.18   1,318,531.60




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Newmark Moses Tucker Partners                         III . BANK STATEMENTS & RECONCILIATIONS


Reconciliation Report

Bank of Arkansas


Account Name                                                                                Regions - BOA Operating
Account Number                                                                                                3887
Ending Statement Date                                                                                   12/31/2019


Summary


Bank Statement Starting Balance on 11/30/2019                                                          1,432,451.06
Cleared Deposits and other Increases                                                                    665,115.66
Cleared Checks and other Decreases                                                                      790,115.25
Cleared ACH Batches and Reversals                                                                              0.00

Cleared Balance                                                                                        1,307,451.47


Unreconciled Transactions


Unreconciled Deposits and other Increases (0 Items)

Total                                                                                                          0.00

Unreconciled Checks and other Decreases (21 Items)
Bank Adjustment - 1456                                                                10/30/2017               1.00
Bank Adjustment - 1726                                                                04/24/2018           2,247.99
Bank Adjustment - 1963                                                                09/12/2018            441.45
Bank Adjustment - 1977                                                                09/27/2018           6,864.00
Bank Adjustment - 2021                                                                10/23/2018            514.74
Bank Adjustment - 2051                                                                11/07/2018           3,012.76
Bank Adjustment - 2110                                                                12/12/2018           1,056.00
Bank Adjustment - 2223                                                                02/22/2019            234.17
Bank Adjustment - 2247                                                                03/08/2019           2,525.00
Bank Adjustment - 2253                                                                03/08/2019            393.00
Bank Adjustment - 2299                                                                04/12/2019            393.00
Bank Adjustment - 2342                                                                04/19/2019           4,550.00
Bank Adjustment - 2343                                                                04/19/2019           5,850.00
Bank Adjustment - 2344                                                                04/19/2019           5,200.00
Bank Adjustment - 2345                                                                04/19/2019           3,250.00
Bank Adjustment - 2398                                                                06/05/2019         23,883.32
Check #2430 - AT&T X                                                                  07/12/2019            267.74
Check #2431 - ATT                                                                     07/12/2019            338.35
Check #2489 - Pro Wash, Inc.                                                          07/29/2019            441.45
Check #2639 - Quattlebaum, Grooms, Tull & Burrow                                      10/23/2019           3,547.50
Check #2715 - D & N Construction                                                      12/13/2019         78,891.00

Total                                                                                                   143,902.47

Unreconciled ACH Batches and Reversals (0 Items)
                            Case 16-12728-JTD                 Doc 448       Filed 02/04/20   Page 47 of 84
Total                                                                                                              0.00

Unreconciled Payments from ACH Batches Generated after Reconciliation Period (0 Items)

Total                                                                                                              0.00

Unreconciled Checks Voided after Reconciliation Period (0 Items)

Total                                                                                                              0.00

Unreconciled Receipts Deposited after Reconciliation Period (0 Items)

Total                                                                                                              0.00

Receipts Reversed after Reconciliation Which Have Not Been Deposited (0 Items)

Total                                                                                                              0.00

Pending Online Receipts Which Have Not Been Deposited (0 Items)

Total                                                                                                              0.00


Cleared Transactions


Cleared Deposits and other Increases (11 Items)
Deposit #Automatic ACH Deposit                                                                  12/02/2019     9,675.83
Deposit #Automatic ACH Deposit                                                                  12/04/2019    89,707.03
Deposit #344                                                                                    12/05/2019    54,123.88
Deposit #Automatic ACH Deposit                                                                  12/06/2019   389,445.06
Deposit #Automatic ACH Deposit                                                                  12/10/2019    36,827.12
Deposit #345                                                                                    12/20/2019     4,763.06
Deposit #Automatic ACH Deposit                                                                  12/26/2019     1,723.53
Deposit #Automatic ACH Deposit                                                                  12/30/2019     4,858.61
Deposit #Automatic ACH Deposit                                                                  12/31/2019    10,000.00
Deposit #Automatic ACH Deposit                                                                  12/23/2019    53,097.66
Deposit #347                                                                                    12/11/2019    10,893.88

Total                                                                                                        665,115.66

Cleared Checks and other Decreases (56 Items)
Deposit #Automatic ACH Deposit NSF 1                                                            12/02/2019     5,165.28
Check #2680 - Terminix International, LP                                                        11/14/2019      353.16
Check #2685 - APIA, Inc. dba Image360                                                           11/26/2019      429.87
Check #2688 - Arkansas Rooter, Inc.                                                             11/26/2019      150.00
Check #2689 - Central Arkansas Water dba Utility Billing Services                               11/26/2019    12,975.07
Check #2690 - Cintas Corporation #065                                                           11/26/2019        65.90
Check #2691 - Color Me Bad, LLC                                                                 11/26/2019     3,265.00
Check #2692 - Comfort Systems USA (Arkansas), Inc.                                              11/26/2019      697.50
Check #2694 - Harrison Energy Partners                                                          11/26/2019     2,252.22
Check #2695 - McGhee Real Estate Services, Inc.                                                 11/26/2019     4,000.00
Check #2696 - Newmark Moses Tucker Partners                                                     11/26/2019     5,124.19
Check #2699 - Perks Key & Lock                                                                  11/26/2019      172.22
Check #2700 - Whelan Security Co dba GardaWorld Security Services                               11/26/2019    11,277.98
Check #2701 - MTEH, LLC                                                                         11/26/2019    12,789.45
Check #2702 - DLS Discovery, LLC                                                                12/06/2019     5,500.00
Check #2703 - McGhee Real Estate Services, Inc.                                                 12/06/2019     4,958.01
Check #2704 - The Westin                                                                        12/06/2019    10,241.00
Check #2705 - AR Shades Blinds & Shutters Inc                                                   12/13/2019     1,295.00
                              Case 16-12728-JTD                    Doc 448   Filed 02/04/20   Page 48 of 84
Check #2706 - ATT                                                                                12/13/2019        163.48
Check #2707 - Alarmco, Inc.                                                                      12/13/2019        385.04
Check #2708 - Arkansas Rooter, Inc.                                                              12/13/2019        150.00
Check #2709 - Binswanger Enterprises, LLC dba Binswanger Glass                                   12/13/2019       1,239.76
Check #2710 - Cintas Corporation #065                                                            12/13/2019        263.60
Check #2711 - Colliers Arkansas, Inc. dba Colliers International                                 12/13/2019        393.00
Check #2712 - Color Me Bad, LLC                                                                  12/13/2019       2,530.00
Check #2713 - Comcast A                                                                          12/13/2019        164.21
Check #2714 - Comfort Systems USA (Arkansas), Inc.                                               12/13/2019       4,648.89
Check #2716 - Deloitte LLP                                                                       12/13/2019    285,040.00
Check #2717 - Harrison Energy Partners                                                           12/13/2019       6,909.52
Check #2718 - Laidlaw, Inc.                                                                      12/13/2019     39,077.69
Check #2719 - Laurie Miller dba The Velvet Boxwood                                               12/13/2019       4,300.00
Check #2720 - McGhee Real Estate Services, Inc.                                                  12/13/2019        683.21
Check #2721 - Newmark Moses Tucker Partners                                                      12/13/2019     14,673.46
Check #2722 - Newmark Moses Tucker Partners                                                      12/13/2019        484.38
Check #2723 - OTIS Elevator Company                                                              12/13/2019     13,328.06
Check #2724 - Perks Key & Lock                                                                   12/13/2019        333.54
Check #2725 - Plantation Services, Inc                                                           12/13/2019        665.75
Check #2726 - Powers of Arkansas, Inc.                                                           12/13/2019        313.38
Check #2727 - Pro Wash, Inc.                                                                     12/13/2019       1,657.55
Check #2728 - R & E Supply                                                                       12/13/2019       1,044.52
Check #2729 - Red Hawk Fire & Security                                                           12/13/2019     22,105.00
Check #2730 - Simplex Grinnell                                                                   12/13/2019     10,728.65
Check #2731 - Terminix International, LP                                                         12/13/2019        353.16
Check #2732 - Tyco Fire & Security (US) Management INC                                           12/13/2019        624.73
Check #2733 - Veritext LLC                                                                       12/13/2019        828.15
Check #2734 - Waste Management of Little Rock Hauling                                            12/13/2019       3,302.64
Check #2735 - Whelan Security Co dba GardaWorld Security Services                                12/13/2019     10,923.56
Check #2736 - MTEH, LLC                                                                          12/13/2019     22,972.84
Check #2738 - Seth Denison                                                                       12/16/2019        672.89
Check #2739 - Flint's Just Like Mom's                                                            12/17/2019       3,738.53
Check #2740 - R & E Supply                                                                       12/17/2019         96.77
Check #2741 - Entergy                                                                            12/17/2019     83,860.16
Check #2742 - ATT                                                                                12/30/2019        255.19
Check #2743 - MTEH, LLC                                                                          12/30/2019       8,333.40
Journal Entry                                                                                    12/03/2019    162,000.00
Journal Entry - Bank service charge                                                              12/31/2019        158.69

Total                                                                                                          790,115.25

Cleared ACH Batches and Reversals (0 Items)

Total                                                                                                                 0.00


Cash Accounts


1101-0000: Operating Cash                                                                                     1,163,549.00
Less Unreconciled Deposits                                                                                            0.00
Less Unreconciled Receipts Deposited after Reconciliation Period                                                      0.00
Less Receipts Reversed after Reconciliation Which Have Not Been Deposited                                             0.00
                           Case 16-12728-JTD                  Doc 448      Filed 02/04/20   Page 49 of 84
Less Pending Online Receipts Which Have Not Been Deposited                                                          0.00
Plus Unreconciled Checks                                                                                     143,902.47
Plus Unreconciled ACH Batches and Reversals                                                                         0.00
Plus Unreconciled Payments from ACH Batches Generated after Reconciliation Period                                   0.00
Plus Unreconciled Checks Voided after Reconciliation Period                                                         0.00

Adjusted Cash Balance                                                                                       1,307,451.47

Bank Statement Balance on 12/31/2019                                                                        1,307,451.47
                                                                                                              In Balance
                                             Case 16-12728-JTD                    Doc 448        Filed 02/04/20   Page 50 of 84

                               A division of BOKF, NA
                               P.O. Box 1407                                                                          PRIMARY ACCOUNT
                               Fayetteville, AR 72702-1407                                                                    3887
                               Member FDIC
                                                                                                              Statement Period:
                                                                                                              12-01-19 to 12-31-19
                           0000811 T0925201012013055600 00000 01 000000000 00078173 006 ARKRG1


                               NNN 400 CAPITOL CENTER 16 LLC ET AL                                            Direct Inquiries To:
                               DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                       Comm'l Client Svcs
                               OPERATING ACCOUNT                                                              800-878-7817
                               400 W CAPITOL AVE STE 2692
                               LITTLE ROCK AR 72201                                                           www.bokfinancial.com


                                                                                                               51 Images Provided Page 1 of 11


                            BANKRUPTCY CHECKING                                                                         ACCOUNT:             3887


                                                             RD   Statement Period from 12-01-19 through 12-31-19
                                                                                                                                   1
                                                                  $ Starting Balance                              1,432,451.06 -
                                                                  +  12 Deposits                                    665,115.66
                                                                  -  58 Checks & Withdrawals                        790,115.25
                                                                  - Service Fees                                           .00 -
                                                                  = Ending Balance                                1,307,451.47 -




                              DEPOSITS
                              Date                                                                                                        Amount
                              12-02 NEWMARK MOSES TU SETTLEMENT *****7197597789                                                         9,675.83
                              12-04 NEWMARK MOSES TU SETTLEMENT *****7224964685                                                        89,707.03
                              12-05 DELOITTE         PAYMENTS   *****0004649722                                                        54,123.88
                                          ISA*00*NV        *00*NV                            *ZZ*413513350
                              12-06       NEWMARK MOSES TU SETTLEMENT                       *****7246883841                            389,445.06
                              12-10       NEWMARK MOSES TU SETTLEMENT                       *****7272786045                             36,827.12
                              12-11       DEPOSIT BRANCH                                                                                10,893.88
                              12-20       AMER ELEC 8064    EDI PAYMNT                      AP003498543                                  2,669.55
                                          ISA*00*          *00*                              *ZZ*CITIBANK
                              12-20       VOYA FIN 762      DIRECT PAY                      *****69977                                  2,093.51
                              12-23       NEWMARK MOSES TU SETTLEMENT                       *****7336034453                            53,097.66
                              12-26       NEWMARK MOSES TU SETTLEMENT                       *****7350109857                             1,723.53
                              12-30       NEWMARK MOSES TU SETTLEMENT                       *****7367305877                             4,858.61
                              12-31       NEWMARK MOSES TU SETTLEMENT                       *****7380073905                            10,000.00
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100110110000110100111100
111001110010010110101101
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100101011000110011001111
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101100010000000101100111
100100100111101011101010
110000000100011101111101
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                             FOR ACCOUNT BALANCING PROCEDURES, IMPORTANT INFORMATION AND ADDRESS CHANGES SEE REVERSE SIDE
                          Case 16-12728-JTD                       Doc 448            Filed 02/04/20                Page 51 of 84

           A division of BOKF, NA
           P.O. Box 1407
           Fayetteville, AR 72702-1407
           Member FDIC



Change of Address - It is the responsibility of the account holder to notify us promptly of any change
                    in mailing address to avoid delays in delivery. Please call the number listed on
                    the front of your statement or visit a banking center to change your address.

                                                                                                                                                          Page 2
Balancing Your Account:
Before you start, please be sure to enter in your account register any interest earned, automatic transactions or bank charges
including those in this statement.


A. Enter deposits not shown on this                        B. Enter all checks, withdrawals and                        C. Follow instructions below to compare
statement.                                                 bank charges not shown on this or any                       transactions recorded on your statement
                                                           prior statement.                                            with those in your account register.


Date of Deposit                Amount                      Outstanding Item                Amount




                                                                                                                       New Balance
                                                                                                                       Shown on other side




                                                                                                                       Plus (+)
                                                                                                                       Total A




                                                                                                                       x
                                                                                                                       Equals (=)




                                                                                                                       Minus (-)
                                                                                                                       Total B




x                                                          x                                                           Equals (=)
Total A                                                    Total B                                                     Your current register balance

                                                Electronic Transfer Rights Summary
                                                      In Case of Errors or Questions About Your Electronic Transfers
                                                      Please Follow These Instructions
If you need more information on a transfer on your statement or receipt, or if you think your statement or receipt is incorrect, you need to contact us no
later than 60 days after we sent you the FIRST statement on which the problem or error appeared. Telephone us at the number listed on the front of your
statement after the words "Direct Inquiries To" or write us at:
                                                                   BOK FINANCIAL
                                                                   Attn: Customer Service
                                                                   P.O. Box 1407
                                                                   Fayetteville, AR 72702-1407
- Tell us your name and account number.
- Describe the error or the transfer you are unsure about, explain as clearly as you can why you believe there is an error or why you need more information.
- Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, however,
we may take up to 45 days (90 days for point-of-sale or foreign-initiated transactions) to investigate your complaint or question. If we decide to do this, we will
credit your account within 10 business days for the amount you think is in error, so you will have the money during the time it takes us to complete our investigation.
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                               A division of BOKF, NA
                               P.O. Box 1407                                                      PRIMARY ACCOUNT
                               Fayetteville, AR 72702-1407                                                3887
                               Member FDIC
                                                                                         Statement Period:
                                                                                         12-01-19 to 12-31-19
                               NNN 400 CAPITOL CENTER 16 LLC ET AL                       Direct Inquiries To:
                               DEBTOR IN POSSESSION-CASE NO 16-12728 KG                  Comm'l Client Svcs
                               OPERATING ACCOUNT                                         800-878-7817
                               400 W CAPITOL AVE STE 2692
                               LITTLE ROCK AR 72201                                      www.bokfinancial.com

                                                                                          51 Images Provided Page 3 of 11




                               WITHDRAWALS
                               Date                                                                                 Amount
                               12-03 OUTGOING FED WIRE DR                                                       162,000.00
                                         001061
                                         C-III ASSET MANAGEMENT CLIENT
                                         082901392BOK Financial
                                         REF #30257977, NNN 400 CAPITOL CENTER 1 , COMM 2006-C8
                               12-03     NEWMARK MOSES TU RETURN       *****7203385057                            5,165.28
                               12-13     BOK FINANCIAL     ANALYSIS    1                                            158.69
                               12-16     ATT               PAYMENT     *****7003MYW9O                               105.47
                               12-16     ATT               PAYMENT     *****2003MYW9O                                58.01
                               12-18     ENTERGY SERVICES BILL PAY     *****18771169                             83,860.16
                               12-31     ATT               PAYMENT     *****0002MYW9F                               146.36
                               12-31     ATT               PAYMENT     *****0002MYW9F                               108.83




                               CHECKS                        (* Indicates a break in check number sequence)
                                                             (RTND Indicates a RETURNED CHECK)
                               Date               Number            Amount     Date           Number             Amount
                               12-18                2133            828.15     12-17            2701          12,789.45
                               12-05               *2680            353.16     12-10            2702           5,500.00
                               12-09               *2685            429.87     12-06            2703           4,958.01
                               12-19               *2688            150.00     12-20            2704          10,241.00
                               12-06                2689         12,975.07     12-18            2705           1,295.00
                               12-10                2690             65.90     12-30           *2707             385.04
                               12-04                2691          3,265.00     12-16            2708             150.00
                               12-06                2692            697.50     12-16            2709           1,239.76
    101010101010101010101010
    111110111100100000100011
    100110110000110100111100
    111001110010010110101101
    101001111110011000100000
    100101011000110011001111
    101101111010000000000100
    101100010000000101111111
    100100101001101011111010
                               12-05               *2694          2,252.22     12-18            2710             263.60
    110000000100011101100001
    100010010000001010000110
    101111110010111000101111
    111011000000010111000100
    100001101000100110011101
    100100011111100001010000
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    110011001100010101111001
    100110110011111011111100
    100101010111011110100101
                               12-04                2695          4,000.00     12-17            2711             393.00
                               12-17                2696          5,124.19     12-16            2712           2,530.00
    111010111000100000101100
    101111111000010101111101
    101101011111100010111010
    111111111111111111111111




                               12-16               *2699            172.22     12-23            2713             164.21
                               12-06                2700         11,277.98     12-18            2714           4,648.89
.
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    A division of BOKF, NA
    P.O. Box 1407                                                    PRIMARY ACCOUNT
    Fayetteville, AR 72702-1407                                              3887
    Member FDIC
                                                            Statement Period:
                                                            12-01-19 to 12-31-19
    NNN 400 CAPITOL CENTER 16 LLC ET AL                     Direct Inquiries To:
    DEBTOR IN POSSESSION-CASE NO 16-12728 KG                Comm'l Client Svcs
    OPERATING ACCOUNT                                       800-878-7817
    400 W CAPITOL AVE STE 2692
    LITTLE ROCK AR 72201                                    www.bokfinancial.com

                                                             51 Images Provided Page 4 of 11


    BANKRUPTCY CHECKING (cont.)
    CHECKS                 (* Indicates a break in check number sequence)
                           (RTND Indicates a RETURNED CHECK)
    Date         Number            Amount   Date         Number           Amount
    12-23         *2716        285,040.00   12-16          2728         1,044.52
    12-17          2717          6,909.52   12-19          2729        22,105.00
    12-18          2718         39,077.69   12-23          2730        10,728.65
    12-18          2719          4,300.00   12-19          2731           353.16
    12-17          2720            683.21   12-23          2732           624.73
    12-17          2721         14,673.46   12-17         *2734         3,302.64
    12-17          2722            484.38   12-17          2735        10,923.56
    12-18          2723         13,328.06   12-17          2736        22,972.84
    12-24          2724            333.54   12-24         *2738           672.89
    12-18          2725            665.75   12-18          2739         3,738.53
    12-17          2726            313.38   12-20          2740            96.77
    12-19          2727          1,657.55   12-31         *2743         8,333.40




    DAILY ACCOUNT BALANCE
    Date            Balance           Date           Balance      Date               Balance
    11-30       1,432,451.06          12-10      1,799,289.99     12-20          1,544,309.32
    12-02       1,442,126.89          12-11      1,810,183.87     12-23          1,300,849.39
    12-03       1,274,961.61          12-13      1,810,025.18     12-24          1,299,842.96
    12-04       1,357,403.64          12-16      1,804,725.20     12-26          1,301,566.49
    12-05       1,408,922.14          12-17      1,726,155.57     12-30          1,306,040.06
    12-06       1,768,458.64          12-18      1,574,149.74     12-31          1,307,451.47
    12-09       1,768,028.77          12-19      1,549,884.03




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                                A division of BOKF, NA
                                P.O. Box 1407                                                     PRIMARY ACCOUNT
                                Fayetteville, AR 72702-1407                                               3887
                                Member FDIC
                                                                                         Statement Period:
                                                                                         12-01-19 to 12-31-19
                                NNN 400 CAPITOL CENTER 16 LLC ET AL                      Direct Inquiries To:
                                DEBTOR IN POSSESSION-CASE NO 16-12728 KG                 Comm'l Client Svcs
                                OPERATING ACCOUNT                                        800-878-7817
                                400 W CAPITOL AVE STE 2692
                                LITTLE ROCK AR 72201                                     www.bokfinancial.com

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                                                              SERVICE FEE BALANCE INFORMATION

                               AVG LEDGER BALANCE             1,543,456.08      AVG COLLECTED BAL             1,543,062.40
                               MINIMUM LEDGER BAL             1,274,961.61




    101010101010101010101010
    111110111100100000100011
    100110110000110100111100
    111001110010010110101101
    101001111110011000100000
    100101011000110011001111
    101101111010000000000100
    101100010000000101111111
    100100101011101011101010
    110000000100011101100101
    100010010000011010001110
    101111110010110001100111
    111011000000011111001000
    100001101010100100111101
    100100010100101010010000
    100110110101111111000111
    110010111001110100110110
    110011001011110001010001
    100100011101101111100000
    100101001000010111010011
    110101110111010111100000
    100101111000110000111101
    101001011101000010110010
    111111111111111111111111




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                                                                                           3887
            A division of BOKF, NA
            P.O. Box 1407                                              Statement Period:
            Fayetteville, AR 72702-1407                                12-01-19 to 12-31-19
            Member FDIC
                                                                       Direct Inquiries To:
                                                                       Comm'l Client Svcs
           NNN 400 CAPITOL CENTER 16 LLC ET AL                         800-878-7817
           DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                           Page 6 of 11



    BANKRUPTCY CHECKING -                 3887




    0      $10,893.88                                      2133   $828.15




    2680       $353.16                                     2685   $429.87




    2688       $150.00                                     2689   $12,975.07




    2690       $65.90                                      2691   $3,265.00




    2692       $697.50                                     2694   $2,252.22


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                                                    Case 16-12728-JTD   Doc 448   Filed 02/04/20     PagePRIMARY
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                                      A division of BOKF, NA
                                      P.O. Box 1407                                           Statement Period:
                                      Fayetteville, AR 72702-1407                             12-01-19 to 12-31-19
                                      Member FDIC
                                                                                              Direct Inquiries To:
                                                                                              Comm'l Client Svcs
                                      NNN 400 CAPITOL CENTER 16 LLC ET AL                     800-878-7817
                                      DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                       Page 7 of 11




                               2695      $4,000.00                                2696   $5,124.19




                               2699      $172.22                                  2700   $11,277.98




                               2701      $12,789.45                               2702   $5,500.00




                               2703      $4,958.01                                2704   $10,241.00




    101010101010101010101010
    111110111100100000100011
    100110110000110100111100
    111001110010010110101101
    101001111110011000100000
    100101011000110011001111
    101101111010000000000100
    101100010000000101110111
    100100101101101011111010
    110000000100011101101001
    100010010000101010010010
    101111110010101000100111
    111011000001000111010110
    100001101000000010011101
    100100011001110110010000
    100110110001110111000111
    110010101110111101101010
    110011101011010110111101
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    110110010110000111101110
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                               2705      $1,295.00                                2707   $385.04




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                                                                                       3887
           A division of BOKF, NA
           P.O. Box 1407                                           Statement Period:
           Fayetteville, AR 72702-1407                             12-01-19 to 12-31-19
           Member FDIC
                                                                   Direct Inquiries To:
                                                                   Comm'l Client Svcs
           NNN 400 CAPITOL CENTER 16 LLC ET AL                     800-878-7817
           DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                       Page 8 of 11




    2708      $150.00                                  2709   $1,239.76




    2710      $263.60                                  2711   $393.00




    2712      $2,530.00                                2713   $164.21




    2714      $4,648.89                                2716   $285,040.00




    2717      $6,909.52                                2718   $39,077.69




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                                                    Case 16-12728-JTD   Doc 448   Filed 02/04/20     PagePRIMARY
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                                                                                                                  3887
                                      A division of BOKF, NA
                                      P.O. Box 1407                                           Statement Period:
                                      Fayetteville, AR 72702-1407                             12-01-19 to 12-31-19
                                      Member FDIC
                                                                                              Direct Inquiries To:
                                                                                              Comm'l Client Svcs
                                      NNN 400 CAPITOL CENTER 16 LLC ET AL                     800-878-7817
                                      DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                       Page 9 of 11




                               2719      $4,300.00                                2720   $683.21




                               2721      $14,673.46                               2722   $484.38




                               2723      $13,328.06                               2724   $333.54




                               2725      $665.75                                  2726   $313.38




    101010101010101010101010
    111110111100100000100011
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                               2727      $1,657.55                                2728   $1,044.52




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                                                                             59 of 84ACCOUNT
                                                                                     3887
           A division of BOKF, NA
           P.O. Box 1407                                           Statement Period:
           Fayetteville, AR 72702-1407                             12-01-19 to 12-31-19
           Member FDIC
                                                                   Direct Inquiries To:
                                                                   Comm'l Client Svcs
           NNN 400 CAPITOL CENTER 16 LLC ET AL                     800-878-7817
           DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                    Page 10 of 11




    2729      $22,105.00                               2730   $10,728.65




    2731      $353.16                                  2732   $624.73




    2734      $3,302.64                                2735   $10,923.56




    2736      $22,972.84                               2738   $672.89




    2739      $3,738.53                                2740   $96.77




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                                                    Case 16-12728-JTD   Doc 448   Filed 02/04/20   PagePRIMARY
                                                                                                        60 of 84ACCOUNT
                                                                                                                3887
                                      A division of BOKF, NA
                                      P.O. Box 1407                                           Statement Period:
                                      Fayetteville, AR 72702-1407                             12-01-19 to 12-31-19
                                      Member FDIC
                                                                                              Direct Inquiries To:
                                                                                              Comm'l Client Svcs
                                      NNN 400 CAPITOL CENTER 16 LLC ET AL                     800-878-7817
                                      DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                    Page 11 of 11




                               2743      $8,333.40




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                           Case 16-12728-JTD                  Doc 448       Filed 02/04/20   Page 62 of 84
Newmark Moses Tucker Partners



Reconciliation Report

Bank of Arkansas


Account Name                                                                                                 Regions - Escrow
Account Number                                                                                                          3898
Ending Statement Date                                                                                             12/31/2019


Summary


Bank Statement Starting Balance on 11/30/2019                                                                      51,692.84
Cleared Deposits and other Increases                                                                                     0.00
Cleared Checks and other Decreases                                                                                       0.00
Cleared ACH Batches and Reversals                                                                                        0.00

Cleared Balance                                                                                                    51,692.84


Unreconciled Transactions


Unreconciled Deposits and other Increases (0 Items)

Total                                                                                                                    0.00

Unreconciled Checks and other Decreases (0 Items)

Total                                                                                                                    0.00

Unreconciled ACH Batches and Reversals (0 Items)

Total                                                                                                                    0.00

Unreconciled Payments from ACH Batches Generated after Reconciliation Period (0 Items)

Total                                                                                                                    0.00

Unreconciled Checks Voided after Reconciliation Period (0 Items)

Total                                                                                                                    0.00

Unreconciled Receipts Deposited after Reconciliation Period (0 Items)

Total                                                                                                                    0.00

Receipts Reversed after Reconciliation Which Have Not Been Deposited (0 Items)

Total                                                                                                                    0.00

Pending Online Receipts Which Have Not Been Deposited (0 Items)

Total                                                                                                                    0.00


Cleared Transactions


Cleared Deposits and other Increases (0 Items)

Total                                                                                                                    0.00

Cleared Checks and other Decreases (0 Items)

Total                                                                                                                    0.00

Cleared ACH Batches and Reversals (0 Items)
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Total                                                                                                             0.00


Cash Accounts


1102-0000: Security Deposit Escrow Account                                                                   51,692.84
Less Unreconciled Deposits                                                                                        0.00
Less Unreconciled Receipts Deposited after Reconciliation Period                                                  0.00
Less Receipts Reversed after Reconciliation Which Have Not Been Deposited                                         0.00
Less Pending Online Receipts Which Have Not Been Deposited                                                        0.00
Plus Unreconciled Checks                                                                                          0.00
Plus Unreconciled ACH Batches and Reversals                                                                       0.00
Plus Unreconciled Payments from ACH Batches Generated after Reconciliation Period                                 0.00
Plus Unreconciled Checks Voided after Reconciliation Period                                                       0.00

Adjusted Cash Balance                                                                                        51,692.84

Bank Statement Balance on 12/31/2019                                                                         51,692.84
                                                                                                             In Balance
                                             Case 16-12728-JTD                    Doc 448        Filed 02/04/20   Page 64 of 84

                               A division of BOKF, NA
                               P.O. Box 1407                                                                          PRIMARY ACCOUNT
                               Fayetteville, AR 72702-1407                                                                    3898
                               Member FDIC
                                                                                                             Statement Period:
                                                                                                             12-01-19 to 12-31-19
                           0000114 T0925201012013055600 00000 01 000000000 00077476 001 ARKRG1


                               NNN 400 CAPITOL CENTER 16 LLC ET AL                                           Direct Inquiries To:
                               DEBTOR IN POSSESSION-CASE NO 16-12728 KG                                      Comm'l Client Svcs
                               SECURITY DEPOSIT ACCOUNT                                                      800-878-7817
                               400 W CAPITOL AVE STE 2692
                               LITTLE ROCK AR 72201                                                          www.bokfinancial.com


                                                                                                                                       Page 1 of 2


                            BANKRUPTCY CHECKING                                                                         ACCOUNT:              3898


                                                             RD   Statement Period from 12-01-19 through 12-31-19
                                                                                                                                   1
                                                                  $ Starting Balance                                 51,692.84 -
                                                                  +   0 Deposits                                           .00
                                                                  -   0 Checks & Withdrawals                               .00
                                                                  - Service Fees                                           .00 -
                                                                  = Ending Balance                                   51,692.84 -




                              CHECKS                                    (* Indicates a break in check number sequence)
                                                                        (RTND Indicates a RETURNED CHECK)
                                    *** No Checks ***


                                                                          SERVICE FEE BALANCE INFORMATION

                            AVG LEDGER BALANCE                                  51,692.84           AVG COLLECTED BAL                  51,692.84
                            MINIMUM LEDGER BAL                                  51,692.84




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                             FOR ACCOUNT BALANCING PROCEDURES, IMPORTANT INFORMATION AND ADDRESS CHANGES SEE REVERSE SIDE
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           A division of BOKF, NA
           P.O. Box 1407
           Fayetteville, AR 72702-1407
           Member FDIC



Change of Address - It is the responsibility of the account holder to notify us promptly of any change
                    in mailing address to avoid delays in delivery. Please call the number listed on
                    the front of your statement or visit a banking center to change your address.

                                                                                                                                                          Page 2
Balancing Your Account:
Before you start, please be sure to enter in your account register any interest earned, automatic transactions or bank charges
including those in this statement.


A. Enter deposits not shown on this                        B. Enter all checks, withdrawals and                        C. Follow instructions below to compare
statement.                                                 bank charges not shown on this or any                       transactions recorded on your statement
                                                           prior statement.                                            with those in your account register.


Date of Deposit                Amount                      Outstanding Item                Amount




                                                                                                                       New Balance
                                                                                                                       Shown on other side




                                                                                                                       Plus (+)
                                                                                                                       Total A




                                                                                                                       x
                                                                                                                       Equals (=)




                                                                                                                       Minus (-)
                                                                                                                       Total B




x                                                          x                                                           Equals (=)
Total A                                                    Total B                                                     Your current register balance

                                                Electronic Transfer Rights Summary
                                                      In Case of Errors or Questions About Your Electronic Transfers
                                                      Please Follow These Instructions
If you need more information on a transfer on your statement or receipt, or if you think your statement or receipt is incorrect, you need to contact us no
later than 60 days after we sent you the FIRST statement on which the problem or error appeared. Telephone us at the number listed on the front of your
statement after the words "Direct Inquiries To" or write us at:
                                                                   BOK FINANCIAL
                                                                   Attn: Customer Service
                                                                   P.O. Box 1407
                                                                   Fayetteville, AR 72702-1407
- Tell us your name and account number.
- Describe the error or the transfer you are unsure about, explain as clearly as you can why you believe there is an error or why you need more information.
- Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, however,
we may take up to 45 days (90 days for point-of-sale or foreign-initiated transactions) to investigate your complaint or question. If we decide to do this, we will
credit your account within 10 business days for the amount you think is in error, so you will have the money during the time it takes us to complete our investigation.


                                                                                                     00000114-0000114-0002-0002-T0925201012013055600-01-L
                                                    Case 16-12728-JTD              Doc 448          Filed 02/04/20          Page 66 of 84
Income Statement - 12 Month                                         IV. ACCRUAL BASED INCOME STATEMENT
Newmark Moses Tucker Partners
Properties: regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201
Period Range: Jan 2019 to Dec 2019
Accounting Basis: Accrual
Level of Detail: Detail View
Account Name            Jan 2019       Feb 2019     Mar 2019     Apr 2019     May 2019      Jun 2019     Jul 2019     Aug 2019      Sep 2019     Oct 2019     Nov 2019     Dec 2019           Total
Operating Income
& Expense
  Income
    Revenue
      Rent              564,861.21     573,795.05   563,716.13   574,650.69   583,748.35    614,897.15   615,554.51   619,008.21    625,498.49   629,601.82   629,844.94   638,634.10   7,233,810.65
      Percentage          4,000.00       4,000.00     4,000.00     4,000.00     4,000.00     -8,033.94         0.00         0.00          0.00         0.00         0.00         0.00     11,966.06
      Rent
      CAM Income         11,779.74      11,779.74    11,779.74    11,779.74    11,779.74     11,779.74    11,779.74    11,779.74     11,779.74    11,779.74    11,779.74    11,779.74    141,356.88
      Late Fee                  0.00         0.00         0.00         0.00         0.00          0.00      277.63        190.94       -190.94     1,646.71     4,789.92     6,467.45     13,181.71
      Income
      Storage              418.71         418.71       418.71       418.71        429.18       429.18       429.18        429.18       429.18       429.18       429.18       429.18        5,108.28
      Income
      Telecom             2,356.33           0.00     6,462.66     3,231.33         0.00      3,231.33     3,231.33     6,462.66      3,231.33     3,231.33     3,231.33     3,231.33     37,900.96
      Income
      Parking            31,865.98      46,523.52    25,000.00    33,092.32    35,846.29     25,000.00    45,466.98         0.00     33,866.97    33,193.39    43,214.36    35,868.88    388,938.69
      Income - Non
      Taxable
      Vending                   0.00         0.00         0.00         0.00         0.00          0.00        50.00         0.00         25.00        25.00        25.00        25.00        150.00
      Income
      Termination         1,009.24       1,009.24         0.00         0.00         0.00          0.00         0.00         0.00          0.00         0.00         0.00         0.00       2,018.48
      Fees
    Total Revenue       616,291.21     637,526.26   611,377.24   627,172.79    635,803.56   647,303.46   676,789.37    637,870.73   674,639.77   679,907.17   693,314.47   696,435.68     7,834,431.71
  Total Operating       616,291.21     637,526.26   611,377.24   627,172.79    635,803.56   647,303.46   676,789.37    637,870.73   674,639.77   679,907.17   693,314.47   696,435.68     7,834,431.71
  Income
  Expense
    Payroll
    Expenses
      Onsite             15,046.15      13,725.76    11,781.74    13,558.62    12,194.83     14,633.65    13,258.42    13,825.35     14,219.76    20,534.97     6,358.76    17,958.83    167,096.84
      Engineer and
      Maintenance
      Onsite              8,005.18       8,002.92     8,547.07     7,948.10     7,758.53      8,204.34     7,829.20     7,829.20      7,829.19     7,829.22     7,867.37    10,661.45     98,311.77
      Management
      Employee                 75.00         0.00         0.00         0.00         0.00          0.00         0.00         0.00          0.00         0.00         0.00         0.00         75.00
      Screening




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Income Statement - 12 Month
Account Name            Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019     Jun 2019     Jul 2019    Aug 2019     Sep 2019     Oct 2019     Nov 2019     Dec 2019         Total
      Payroll Other/      2,210.09         0.00         0.00         0.00         0.00      264.00         0.00         0.00         0.00         0.00         0.00         0.00     2,474.09
      Temp
      Services
    Total Payroll        25,336.42    21,728.68    20,328.81    21,506.72    19,953.36    23,101.99   21,087.62    21,654.55    22,048.95    28,364.19    14,226.13    28,620.28   267,957.70
    Expenses
    Repairs
    Maintenance
    and Supplies
      Newmark
      MTP Repairs
      and
      Maintenance
         Plumbing             0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00      363.51       363.51
         MTM
      Total                   0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00      363.51       363.51
      Newmark
      MTP Repairs
      and
      Maintenance
      Contract
      Repairs and
      Maintenance
         Appliance            0.00         0.00         0.00      970.08          0.00         0.00        0.00         0.00         0.00         0.00         0.00         0.00      970.08
         Maintenance
         CM
         Building        20,484.88    67,907.00   117,652.94   134,161.00      575.02          0.00   86,168.00         0.00      863.52          0.00    50,450.00    23,052.51   501,314.87
         Repairs and
         Maintenance
         CM
         Carpet and        438.36        58.84       294.20       470.72       263.60       197.70     4,253.81      263.60        65.90       461.30       131.80       527.20      7,427.03
         Floor
         Cleaning
         and Repairs
         CM
         Chemical         1,020.60         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00         0.00     1,020.60
         Water
         Treatment
         CM
         Construction         0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00    36,490.00   -36,490.00    20,269.00    20,269.00
         Costs CM
         Dock             7,070.87     3,468.49         0.00         0.00    -5,772.13         0.00    1,298.74         0.00         0.00    37,895.00         0.00         0.00    43,960.97
         Repairs and
         Maintenance
         CM




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Income Statement - 12 Month
Account Name             Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019      Jun 2019     Jul 2019     Aug 2019     Sep 2019     Oct 2019     Nov 2019     Dec 2019         Total
         Door and          1,115.07         0.00        79.57      571.16        196.40        31.65      1,677.56      -773.90       59.95       330.80       408.75       167.86      3,864.87
         Lock
         Repairs CM
         Drape and             0.00         0.00         0.00         0.00       725.00          0.00         0.00      771.85      1,865.00         0.00     1,295.00     5,240.00     9,896.85
         Blind
         Repairs CM
         Electrical         855.75          0.00    81,252.42      632.21     40,114.07          0.00   110,339.31         0.00    33,824.00    57,764.48         0.00    49,771.00   374,553.24
         Repairs and
         Maint CM
         Elevator         13,126.14     2,400.00    39,932.60    25,784.33     3,262.18       794.87     25,340.92    13,193.46    14,042.79    12,924.21    12,600.50    13,658.88   177,060.88
         Repairs and
         Maintenance
         CM
         Equipment             0.00         0.00      100.00          0.00         0.00          0.00         0.00         0.00         0.00         0.00         0.00         0.00      100.00
         Maintenance
         CM
         Fire and Life     1,200.00         0.00         0.00         0.00       604.95          0.00      180.00      3,000.00     1,566.25         0.00         0.00    20,222.39    26,773.59
         Safety CM
         HVAC CM          21,110.38     9,078.14    40,393.61    -5,770.41    55,243.76     17,116.46    22,488.24    16,886.10    12,727.38    26,727.17    -4,783.12     8,535.03   219,752.74
         Janitorial            0.00         0.00         0.00         0.00    -38,408.41    33,250.97   -33,250.97         0.00         0.00         0.00         0.00         0.00   -38,408.41
         CM
         Janitorial -     63,476.56         0.00   106,304.60     3,697.20    71,659.38          0.00    66,501.94    36,498.81    34,580.47         0.00    34,580.47    69,160.94   486,460.37
         Night
         Service CM
         Landscaping        493.50          0.00         0.00      493.50      1,971.00       -636.50    21,209.22     3,137.84     3,121.50      875.00       665.75      3,041.75    34,372.56
         and
         Grounds CM
         Miscellaneous      -787.68         0.00         0.00         0.00         0.00          0.00         0.00         0.00         0.00         0.00         0.00     1,895.00     1,107.32
         Maintenance
         CM
         Painting CM       8,755.00      150.00     14,675.00     5,200.00    27,220.00          0.00     1,467.27    28,185.00     7,291.64     3,110.00     8,150.00     6,315.00   110,518.91
         Pest Control       340.08          0.00     1,059.48      353.16        353.16       353.16       353.16          0.00      706.32       353.16       353.16       353.16      4,578.00
         Plant             2,027.40         0.00      987.00          0.00       493.50          0.00      493.50       493.50       493.50     10,007.51         0.00         0.00    14,995.91
         Services CM
         Plumbing          1,960.83         0.00    14,591.47     3,479.89    77,030.73      1,031.98    19,776.29     4,346.79     6,519.51     8,867.67     3,431.46    16,314.02   157,350.64
         CM
         Pressure              0.00         0.00     1,613.30     3,924.00         0.00      2,568.65      477.90       741.20          0.00      441.45      1,657.55      299.75     11,723.80
         Washing
         Roof Repair           0.00         0.00         0.00         0.00         0.00          0.00         0.00         0.00      685.51          0.00         0.00         0.00      685.51
         CM
         Security              0.00         0.00         0.00         0.00     2,842.09          0.00         0.00      385.25          0.00     1,475.55         0.00      385.04      5,087.93
         Monitoring
         CM



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Income Statement - 12 Month
Account Name            Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019      Jun 2019     Jul 2019     Aug 2019      Sep 2019     Oct 2019     Nov 2019     Dec 2019         Total
         Security-       11,117.95      600.00          0.00      299.76          0.00          0.00        0.00          0.00          0.00         0.00         0.00    -3,856.91     8,160.80
         Protection
         Equipment
         CM
         Security        19,779.73         0.00    42,229.85    15,823.90    29,443.77     19,439.21   24,346.94     18,378.19     22,047.12    33,265.54    22,201.54    11,353.16   258,308.95
         Services CM
         Signage              0.00         0.00       52.43          0.00       374.37          0.00   17,647.05          0.00       292.95          0.00     1,137.10      402.07     19,905.97
         Repairs CM
         Skywalk           393.00       393.00       393.00       393.00      1,572.00          0.00      393.00        393.00          0.00      786.00       393.00       393.00      5,502.00
         Maintenance
         Trash                0.00         0.00     2,192.77    -2,192.77         0.00          0.00        0.00          0.00          0.00         0.00         0.00         0.00         0.00
         Removal
         CM
         Window           1,150.00         0.00      509.58          0.00         0.00          0.00        0.00          0.00          0.00         0.00         0.00         0.00     1,659.58
         Cleaning
         CM
         Window          26,915.15         0.00    48,080.21         0.00         0.00          0.00        0.00          0.00     33,350.18     6,673.88      889.76       350.00    116,259.18
         Repair and
         Maint CM
      Total             202,043.57    84,055.47   512,394.03   188,290.73    269,764.44    74,148.15   371,161.88    125,900.69   174,103.49   238,448.72    97,072.72   247,849.85   2,585,233.74
      Contract
      Repairs and
      Maintenance
      Newmark
      MTP Supplies
         Painting             0.00         0.00         0.00         0.00         0.00          0.00        0.00         41.64        -41.64         0.00         0.00         0.00         0.00
         Supplies
         MTM
         Plumbing             0.00         0.00         0.00         0.00         0.00          0.00        0.00      1,239.33     -1,239.33         0.00         0.00         0.00         0.00
         Supplies
         MTM
      Total                   0.00         0.00         0.00         0.00         0.00          0.00        0.00      1,280.97     -1,280.97         0.00         0.00         0.00         0.00
      Newmark
      MTP Supplies
      Contract
      Maintenance
      Supplies and
      Equipment
         Appliance            0.00         0.00         0.00         0.00         0.00          0.00        0.00        251.79       -251.79         0.00         0.00         0.00         0.00
         Supplies MS
         Building         5,452.78     1,305.00     2,256.54         0.00     4,391.52      1,800.20    2,143.53         66.82       251.79      2,560.46         0.00      230.94     20,459.58
         Supplies MS
         Door and             0.00         0.00         0.00         0.00         0.00          0.00        0.00         54.75       330.80       -330.80         0.00         0.00        54.75
         Lock
         Supplies MS


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Income Statement - 12 Month
Account Name            Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019      Jun 2019     Jul 2019     Aug 2019      Sep 2019     Oct 2019     Nov 2019     Dec 2019           Total
         Electrical           0.00         0.00         0.00         0.00         0.00     51,609.00   63,431.72          0.00          0.00         0.00         0.00         0.00    115,040.72
         Supplies MS
         Glass                0.00         0.00         0.00         0.00         0.00          0.00        0.00     32,585.59    -32,585.59         0.00      163.50       -163.50           0.00
         Supplies MS
         HVAC                 0.00         0.00         0.00         0.00     1,772.50          0.00      212.31        806.29          0.00         0.00     1,044.52         0.00       3,835.62
         Supplies MS
         Janitorial      11,815.83         0.00     4,372.58         0.00     4,173.15      4,963.53    5,349.39      6,568.80      6,348.83    11,868.74    -1,437.15     5,667.09     59,690.79
         Supplies MS
         Maintenance          0.00         0.00         0.00      164.68       -164.68          0.00        0.00          0.00          0.00         0.00         0.00         0.00           0.00
         Supplies -
         General
         Repairs and          0.00         0.00         0.00     3,553.31     -2,960.84      -592.47        0.00        863.52       -863.52      378.87       -378.87         0.00           0.00
         Maintenance
         Supplies
      Total              17,268.61     1,305.00     6,629.12     3,717.99     7,211.65     57,780.26   71,136.95     41,197.56    -26,769.48    14,477.27      -608.00     5,734.53     199,081.46
      Contract
      Maintenance
      Supplies and
      Equipment
    Total Repairs       219,312.18    85,360.47   519,023.15   192,008.72    276,976.09   131,928.41   442,298.83    168,379.22   146,053.04   252,925.99    96,464.72   253,947.89     2,784,678.71
    Maintenance
    and Supplies
    Utilities and
    Service
    Expenses
      Electricity US    192,545.26    95,809.15         0.00    83,336.51    83,338.51    122,501.49   95,244.85        -25.00    198,115.47   -13,096.16   102,229.70    98,860.16   1,058,859.94
      Fuel US                 0.00         0.00         0.00         0.00         0.00          0.00        0.00         11.67          0.00         0.00         0.00         0.00         11.67
      Garbage             3,303.19     3,236.75     2,192.77     2,757.42     3,547.26      1,668.34    5,501.41          0.00      5,471.79     4,363.84     4,545.56     3,564.36     40,152.69
      Removal US
      Internet            1,011.31      555.25      1,368.42      197.67        731.83       450.51       870.28        334.82         81.94      982.23       103.41       418.67        7,106.34
      Service US
      Telephone US        1,000.55      228.61       967.50        27.03      1,761.66      1,414.24    1,427.24        229.60      2,682.19     1,399.21     1,429.53     2,199.11     14,766.47
      Television              0.00         0.00      676.84       687.58          0.00          0.00        0.00          0.00          0.00      267.04         30.69         0.00       1,662.15
      Cable US
      Water and          11,948.17     6,221.31         0.00     6,148.55         0.00     35,851.79    8,058.15          0.00     39,119.80    15,089.06    12,975.07    21,242.36    156,654.26
      Sewer US
    Total Utilities     209,808.48   106,051.07     5,205.53    93,154.76    89,379.26    161,886.37   111,101.93       551.09    245,471.19     9,005.22   121,313.96   126,284.66     1,279,213.52
    and Service
    Expenses
    Administrative
    Expenses
      Accounting              0.00         0.00         0.00         0.00         0.00          0.00        0.00      3,000.00          0.00      363.75          0.00         0.00       3,363.75
      Fees


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Income Statement - 12 Month
Account Name            Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019     Jun 2019     Jul 2019    Aug 2019     Sep 2019     Oct 2019     Nov 2019     Dec 2019         Total
      Advertising AS          0.00         0.00         0.00         0.00         0.00         0.00        0.00     2,800.00         0.00         0.00         0.00         0.00     2,800.00
      Asset                   0.00         0.00         0.00         0.00         0.00         0.00    4,000.00         0.00         0.00         0.00     4,000.00    -8,000.00         0.00
      Management
      Fees
      Bank Charges            0.00         0.00         0.00         0.00         0.00         0.00        0.00      251.25        35.98       136.75       119.62       158.69       702.29
      AS
      Client                  0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00      311.70       311.70
      Appreciation
      Computer             192.92          0.00         0.00         0.00         0.00         0.00    1,009.80      774.53          0.00         0.00         0.00         0.00     1,977.25
      Software - Exp
      and/or
      Licensing
      Consulting              0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00     3,507.50     3,507.50
      Fees AS
      Copy and               -5.81         0.00         5.83        -5.83         0.00         0.00        0.00         0.00         0.00         0.00         0.00         0.00        -5.81
      Printing
      Expenses
      Dues and             470.00          0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00         0.00      470.00
      Fees AS
      Education and        975.00       375.00       -375.00       55.00       375.00        25.00         0.00         0.00       25.00       325.00          0.00         0.00     1,780.00
      Training AS
      Freight and             0.00         0.00         0.00         0.00         0.00       14.30       -14.30         0.00         0.00         0.00         0.00         0.00         0.00
      Delivery AS
      Legal Fees AS       2,025.00         0.00     2,007.50         0.00         0.00         0.00    9,585.50     1,430.00         0.00     3,042.05     3,905.00     5,939.90    27,934.95
      Management         10,794.78     9,927.82    13,269.79    11,913.97    11,740.90    12,646.17   10,797.20    12,544.90    13,809.99    12,789.45    12,166.82    11,920.42   144,322.21
      Fees AS
      Meals and           2,782.68         0.00      610.45       625.71       232.98       176.48       208.40      271.13       157.83          0.00         0.00      112.54      5,178.20
      Entertainment
      AS
      Misc                    0.00         0.00         0.00         0.00         0.00         0.00        0.00      279.00       -271.13         0.00         0.00         0.00         7.87
      Decorating
      Exp AS
      Office               227.86       256.65      3,177.03       29.68          0.00         0.00      233.27       88.84        54.89          0.00         0.00         0.00     4,068.22
      Supplies AS
      Postage AS           160.00          0.00         0.00       76.59        26.13       106.11       105.65         6.30         0.00       90.35          0.00         0.00      571.13
      Printing &              5.81         0.00         0.00         5.83         0.00         7.51        0.00         0.00         0.00      102.50          0.00         0.00      121.65
      Copying AS
      Suspense AS             0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00      198.87          0.00      198.87
      Technology              0.00         0.00         0.00         0.00         0.00         0.00        0.00         0.00         0.00         0.00         0.00      218.80       218.80
      Fees AS




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Income Statement - 12 Month
Account Name            Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019     Jun 2019     Jul 2019     Aug 2019     Sep 2019     Oct 2019     Nov 2019     Dec 2019         Total
      Tenant and              0.00      261.53          0.00      386.27       763.81       585.00        12.94        15.00       271.13       306.18      4,300.00     3,738.53    10,640.39
      Client
      Appreciation
      Travel                  0.00         0.00         0.00         0.00         0.00         0.00        0.00          0.00         0.00         0.00         0.00    12,555.11    12,555.11
      Expenses AS
      Uniforms AS             0.00         0.00         0.00         0.00         0.00         0.00        0.00       291.35       -291.35         0.00         0.00         0.00         0.00
    Total                17,628.24    10,821.00    18,695.60    13,087.22    13,138.82    13,560.57   25,938.46     21,752.30    13,792.34    17,156.03    24,690.31    30,463.19   220,724.08
    Administrative
    Expenses
    Taxes and
    Insurance
      Property                0.00         0.00    35,219.40    11,783.80    11,746.80    11,766.80   23,286.60          0.00    11,719.80         0.00         0.00         0.00   105,523.20
      Insurance
      Real Estate             0.00         0.00         0.00         0.00         0.00         0.00        0.00          0.00         0.00   429,756.00         0.00         0.00   429,756.00
      Taxes
    Total Taxes               0.00         0.00    35,219.40    11,783.80    11,746.80    11,766.80   23,286.60          0.00    11,719.80   429,756.00         0.00         0.00   535,279.20
    and Insurance
    Repairs
    Maintenance
    and Supplies
    NR
      Contract
      Repairs and
      Maintenance
      NR
         Electrical           0.00         0.00         0.00         0.00         0.00    76,706.56   -76,706.56         0.00         0.00         0.00         0.00    68,343.00    68,343.00
         Repair CM
         NR
         Plumbing             0.00         0.00         0.00         0.00         0.00         0.00        0.00          0.00      582.61       -582.61         0.00         0.00         0.00
         CM NR
         Window               0.00         0.00         0.00         0.00         0.00         0.00        0.00          0.00         0.00     6,673.88    -6,673.88         0.00         0.00
         Repairs CM
         NR
      Total                   0.00         0.00         0.00         0.00         0.00    76,706.56   -76,706.56         0.00      582.61      6,091.27    -6,673.88    68,343.00    68,343.00
      Contract
      Repairs and
      Maintenance
      NR
    Total Repairs             0.00         0.00         0.00         0.00         0.00    76,706.56   -76,706.56         0.00      582.61      6,091.27    -6,673.88    68,343.00    68,343.00
    Maintenance
    and Supplies
    NR




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Income Statement - 12 Month
Account Name            Jan 2019     Feb 2019     Mar 2019     Apr 2019     May 2019      Jun 2019     Jul 2019     Aug 2019      Sep 2019     Oct 2019     Nov 2019     Dec 2019           Total
    Administrative
    Expenses NR
      Asset               4,000.00         0.00     8,000.00     4,000.00     -4,000.00     4,000.00         0.00     4,000.00      4,000.00     4,000.00     4,000.00     8,000.00     40,000.00
      Management
      Fees NR
      Legal Fees AS           0.00         0.00         0.00         0.00         0.00          0.00    -9,585.50         0.00          0.00         0.00         0.00     5,500.00      -4,085.50
      NR
      Meals and             -58.56         0.00         0.00         0.00         0.00          0.00         0.00         0.00          0.00         0.00         0.00         0.00         -58.56
      Entertainment
      NR
      Non-Building       36,140.19     1,600.00    14,074.80    23,500.00     8,800.00     40,648.15    24,759.58    27,297.45          0.00    21,541.68    21,000.00   -21,000.00    198,361.85
      Compliance
      and Reg Fees
      NR
    Total                40,081.63     1,600.00    22,074.80    27,500.00     4,800.00     44,648.15    15,174.08    31,297.45      4,000.00    25,541.68    25,000.00    -7,500.00     234,217.79
    Administrative
    Expenses NR
  Total Operating       512,166.95   225,561.22   620,547.29   359,041.22    415,994.33   463,598.85   562,180.96    243,634.61   443,667.93   768,840.38   275,021.24   500,159.02     5,390,414.00
  Expense


  NOI - Net             104,124.26   411,965.04    -9,170.05   268,131.57   219,809.23    183,704.61   114,608.41   394,236.12    230,971.84   -88,933.21   418,293.23   196,276.66   2,444,017.71
  Operating
  Income


Other Income &
Expense
  Other Expense
    Debt Service
      Mortgage          162,000.00   162,000.00   162,000.00   162,000.00   162,000.00    162,000.00   162,000.00   162,000.00    162,000.00   162,000.00   162,000.00   162,000.00   1,944,000.00
      Interest
    Total Debt          162,000.00   162,000.00   162,000.00   162,000.00    162,000.00   162,000.00   162,000.00    162,000.00   162,000.00   162,000.00   162,000.00   162,000.00     1,944,000.00
    Service
    Capital
    Expenditures
      Exterior                0.00         0.00         0.00         0.00         0.00          0.00         0.00         0.00          0.00         0.00         0.00     5,452.00       5,452.00
      Building
      Improvements
      Interior            4,397.00         0.00         0.00         0.00    19,636.02          0.00         0.00       450.00    154,040.00    37,285.85    22,105.00         0.00    237,913.87
      Building
      Improvements
      Leasing           -33,311.64    97,999.34      120.00      2,245.30         0.00          0.00    28,448.47         0.00          0.00         0.00         0.00     8,333.40    103,834.87
      Commissions



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Income Statement - 12 Month
Account Name            Jan 2019      Feb 2019      Mar 2019       Apr 2019      May 2019      Jun 2019      Jul 2019      Aug 2019      Sep 2019      Oct 2019       Nov 2019      Dec 2019            Total
      Tenant Finish           0.00          0.00          0.00           0.00          0.00          0.00          0.00      2,302.00          0.00          0.00           0.00          0.00        2,302.00
    Total Capital        -28,914.64    97,999.34        120.00       2,245.30     19,636.02          0.00     28,448.47      2,752.00     154,040.00    37,285.85      22,105.00     13,785.40      349,502.74
    Expenditures
  Total Other            133,085.36    259,999.34    162,120.00     164,245.30    181,636.02    162,000.00    190,448.47    164,752.00    316,040.00    199,285.85     184,105.00    175,785.40     2,293,502.74
  Expense


  Net Other Income      -133,085.36   -259,999.34   -162,120.00    -164,245.30   -181,636.02   -162,000.00   -190,448.47   -164,752.00   -316,040.00   -199,285.85    -184,105.00   -175,785.40 -2,293,502.74


  Total Income          616,291.21    637,526.26    611,377.24     627,172.79    635,803.56    647,303.46    676,789.37    637,870.73    674,639.77    679,907.17     693,314.47    696,435.68    7,834,431.71
  Total Expense         645,252.31    485,560.56    782,667.29     523,286.52    597,630.35    625,598.85    752,629.43    408,386.61    759,707.93    968,126.23     459,126.24    675,944.42    7,683,916.74


  Net Income             -28,961.10    151,965.70    -171,290.05    103,886.27    38,173.21     21,704.61     -75,840.06    229,484.12    -85,068.16    -288,219.06    234,188.23    20,491.26      150,514.97




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Balance Sheet - Comparative             V. ACCRUAL
                           Case 16-12728-JTD
                                                      BASED BALANCE SHEET
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Properties: regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201
As of: 12/31/2019
Accounting Basis: Accrual
Level of Detail: Detail View
                                       Balance as of 12/31/     Balance as of 12/31/
Account Name                                                                             Year Over Year $ Var.     Year Over Year % Var.
                                                      2019                     2018
ASSETS
Cash
  Operating Cash                                 1,163,549.00             2,095,975.38               -932,426.38                -44.49%
  Operating Cash                                  488,990.53                24,422.33                464,568.20               1,902.23%
  Operating Cash                                   11,093.22                11,093.22                       0.00                  0.00%
  Security Deposit Escrow Account                  51,692.84                50,243.84                   1,449.00                  2.88%
  Petty Cash                                          500.00                    500.00                      0.00                  0.00%
  TILC General Reserve                            860,218.75               860,218.75                       0.00                  0.00%
Total Cash                                       2,576,044.34             3,042,453.52               -466,409.18                -15.33%
Current Assets
  Accounts Receivable                             877,690.96               708,132.47                169,558.49                  23.94%
  AR - Other                                          360.00                      0.00                   360.00                   0.00%
  Prepaid Expenses                                 72,727.50                  1,732.98                70,994.52               4,096.67%
Total Current Assets                              950,778.46               709,865.45                240,913.01                  33.94%
Fixed Assets
  Land                                           3,140,000.00             3,140,000.00                      0.00                  0.00%
  Land Improvements - Landscaping                        0.00                 1,962.00                 -1,962.00               -100.00%
  Building                                      32,110,000.00            32,110,000.00                      0.00                  0.00%
  Building - Legal Fees                                  0.00                 2,035.00                 -2,035.00               -100.00%
  Building - Soil-Environmental                    30,553.00                      0.00                30,553.00                   0.00%
  Building - Window Treatments                           0.00                 5,240.00                 -5,240.00               -100.00%
  CIP - Capital Improvements                             0.00                 6,345.77                 -6,345.77               -100.00%
  Building Improvements                          7,306,099.29             7,245,672.52                60,426.77                   0.83%
  Tenant Improvements                            7,980,024.82             6,800,083.31              1,179,941.51                 17.35%
  Tenant Finish                                      6,723.42                     0.00                  6,723.42                  0.00%
  CIP - Tenant Improvements                       285,040.00              1,098,715.51               -813,675.51                -74.06%
  Appliances                                       12,317.00                      0.00                12,317.00                   0.00%
  Furniture and Fixtures                           17,037.53                17,037.53                       0.00                  0.00%
  Security System                                    3,856.91                     0.00                  3,856.91                  0.00%
Total Fixed Assets                              50,891,651.97            50,427,091.64               464,560.33                   0.92%
Other Assets
  Closing Costs                                  1,241,869.56             1,241,869.56                      0.00                  0.00%
  Loan Costs                                      448,303.00               448,303.00                       0.00                  0.00%
  Leasing Commissions                            1,835,267.17             1,835,267.17                      0.00                  0.00%
  Legal Fees                                      167,036.02                75,951.14                 91,084.88                 119.93%
Total Other Assets                               3,692,475.75             3,601,390.87                91,084.88                   2.53%
TOTAL ASSETS                                    58,110,950.52            57,780,801.48               330,149.04                   0.57%




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Balance Sheet - Comparative
                                    Balance as of 12/31/     Balance as of 12/31/
Account Name                                                                          Year Over Year $ Var.     Year Over Year % Var.
                                                   2019                     2018
LIABILITIES & CAPITAL
Liabilities
  Current Liabilities
    Accounts Payable                           342,409.14                56,210.11                286,199.03                 509.16%
    AP - Other                                     -178.21                  -178.21                      0.00                  0.00%
    Accrued Expenses                            65,300.00                87,397.97                 -22,097.97                -25.28%
    Prepaid Income                             104,293.78               194,583.84                 -90,290.06                -46.40%
    Security Deposits                           59,434.22                46,156.34                 13,277.88                  28.77%
    Refund Clearing Account                        -111.00                  -111.00                      0.00                  0.00%
    Withholding Taxes - Investors                -3,550.00                -3,550.00                      0.00                  0.00%
  Total Current Liabilities                    567,597.93               380,509.05                187,088.88                  49.17%

  Long Term Liabilities
    Note Payable                             30,054,803.80            30,054,803.80                      0.00                  0.00%
  Total Long Term Liabilities                30,054,803.80            30,054,803.80                      0.00                  0.00%

Total Liabilities                            30,622,401.73            30,435,312.85               187,088.88                   0.61%

Capital
  Retained Earnings                          20,893,095.17             9,081,946.53             11,811,148.64                130.05%
  Prior Year Retained Earnings                        0.00            11,811,148.64            -11,811,148.64               -100.00%
  Contributions LLC                           5,670,844.15             5,670,844.15                      0.00                  0.00%
  Distributions LLC                            -579,298.40              -579,298.40                      0.00                  0.00%
  Contributions TIC                           9,079,368.00             9,079,368.00                      0.00                  0.00%
  Distributions TIC                          -9,168,104.29            -9,168,104.29                      0.00                  0.00%
  Calculated Retained Earnings                 143,060.16              1,152,847.12             -1,009,786.96                -87.59%
  Calculated Prior Years Retained             1,449,584.00              296,736.88               1,152,847.12                388.51%
  Earnings
Total Capital                                27,488,548.79            27,345,488.63               143,060.16                   0.52%

TOTAL LIABILITIES & CAPITAL                  58,110,950.52            57,780,801.48               330,149.04                   0.57%




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Aged Payables Summary
                                                                                       VI. AGED PAYABLES
Properties: regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201
As of: 12/31/2019
Payees: All
Balance: Exclude 0.00
Payee Name                                 Amount Payable            Not Yet Due                 0-30             31-60       61-90        91+
 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201
Harrison Energy Partners                             1,215.36             1,215.36                 0.00              0.00        0.00      0.00
APIA, Inc. dba Image360                               402.07                    0.00            402.07               0.00        0.00      0.00
Waste Management of Little Rock                      4,064.36                   0.00           4,064.36              0.00        0.00      0.00
Hauling
OTIS Elevator Company                               12,931.32                   0.00          12,931.32              0.00        0.00      0.00
Central Arkansas Water dba Utility                   8,242.36             8,242.36                 0.00              0.00        0.00      0.00
Billing Services
Pro Wash, Inc.                                       1,040.95                   0.00            299.75               0.00        0.00    741.20
Cromwell Architects Engineers, Inc.                  3,507.50                   0.00           3,507.50              0.00        0.00      0.00
Whelan Security Co dba GardaWorld                   11,353.16                   0.00          11,353.16              0.00        0.00      0.00
Security Services
Southeast Imaging, LLC                                218.80                    0.00            218.80               0.00        0.00      0.00
Color Me Bad, LLC                                    6,315.00                   0.00           6,315.00              0.00        0.00      0.00
Perks Key & Lock                                       70.85                    0.00             70.85               0.00        0.00      0.00
Cintas Corp. Loc 570                                  197.70                    0.00               0.00            65.90      197.70      -65.90
MTEH, LLC                                           36,225.07                   0.00          29,202.97          7,022.10        0.00      0.00
Quattlebaum, Grooms, Tull & Burrow                   3,905.00                   0.00               0.00          3,905.00        0.00      0.00
Cintas Corporation #065                               263.60               263.60                  0.00              0.00        0.00       0.00
Metro Disaster Specialists                           3,236.65                   0.00               0.00              0.00        0.00   3,236.65
ATT                                                   163.48               163.48                  0.00              0.00        0.00       0.00
Trane U.S. Inc.                                       -423.99                   0.00               0.00              0.00        0.00    -423.99
Gary Houston Electric Co., Inc.                    118,114.00            49,771.00                 0.00              0.00   68,343.00       0.00
D & N Construction                                  20,269.00                   0.00          20,269.00              0.00        0.00       0.00
Horticare Landscape Management                        414.00               414.00                  0.00              0.00        0.00       0.00
Company, Inc.
Terminix International, LP                            353.16               353.16                  0.00              0.00        0.00       0.00
Simplex Grinnell                                     1,436.62                   0.00           1,436.62              0.00        0.00       0.00
AT&T X                                               1,199.11             1,199.11                 0.00              0.00        0.00       0.00
Comfort Systems USA (Arkansas),                     16,164.02                   0.00           7,307.93          8,856.09        0.00       0.00
Inc.
Laidlaw, Inc.                                       74,828.03                   0.00          40,247.56         34,580.47        0.00       0.00



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Aged Payables Summary
Payee Name                        Amount Payable     Not Yet Due               0-30            31-60       61-90        91+
Tyco Fire & Security (US)                 3,575.48        3,575.48              0.00              0.00        0.00       0.00
Management INC
Stanley Access Technologies LLC           1,895.00        1,895.00              0.00              0.00        0.00       0.00
                                        331,177.66       67,092.55        137,626.89         54,429.56   68,540.70   3,487.96



Total                                   331,177.66       67,092.55        137,626.89         54,429.56   68,540.70   3,487.96




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Aged Receivable Detail                                                    VII. AGED RECEIVABLE
Properties: regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201
Amount Receivable: Exclude 0.00
Tenant Status: All
As of: 12/31/2019
                             Charge    GL Account                                                         Amount
Payer Name                                              GL Account Name             Total Amount                                0-30      31-60          61-90       91+
                              Date     Number                                                           Receivable
 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0100 - Regions Bank
Regions Bank               12/04/2019 5606-0000         Suspense AS                      186,050.62         29,928.68        29,928.68      0.00           0.00       0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0100-C1, 0100-C2 - Franke's Inc
Franke's Inc               10/01/2019 4001-0000         Rent                               4,000.00          4,000.00             0.00      0.00           0.00   4,000.00
Franke's Inc               10/01/2019 4001-0000         Rent                               1,165.28          1,165.28             0.00      0.00           0.00   1,165.28
Franke's Inc               10/11/2019 4007-0000         Late Fee Income                      258.27           258.27              0.00       0.00        258.27       0.00
Franke's Inc               11/01/2019 4001-0000         Rent                               4,000.00          4,000.00             0.00   4,000.00          0.00       0.00
Franke's Inc               11/01/2019 4001-0000         Rent                               1,165.28          1,165.28             0.00   1,165.28          0.00       0.00
Franke's Inc               11/11/2019 4007-0000         Late Fee Income                      458.27           458.27              0.00    458.27           0.00       0.00
Franke's Inc               12/01/2019 4001-0000         Rent                               4,000.00          4,000.00         4,000.00       0.00          0.00       0.00
Franke's Inc               12/01/2019 4001-0000         Rent                               1,165.28          1,165.28         1,165.28       0.00          0.00       0.00
Franke's Inc               12/11/2019 4007-0000         Late Fee Income                      258.27           258.27           258.27        0.00          0.00       0.00
                                                                                          16,470.65         16,470.65         5,423.55   5,623.55        258.27   5,165.28

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0100A - Revival Coffee, LLC
Revival Coffee, LLC        08/01/2019 4001-0000         Rent                                 500.00           500.00              0.00       0.00          0.00    500.00
Revival Coffee, LLC        09/01/2019 4001-0000         Rent                                 500.00           500.00              0.00       0.00          0.00    500.00
Revival Coffee, LLC        10/01/2019 4001-0000         Rent                                 500.00           500.00              0.00       0.00          0.00    500.00
Revival Coffee, LLC        11/01/2019 4001-0000         Rent                                 500.00           500.00              0.00    500.00           0.00       0.00
Revival Coffee, LLC        12/01/2019 4001-0000         Rent                                 500.00           500.00           500.00        0.00          0.00       0.00
                                                                                           2,500.00          2,500.00          500.00     500.00           0.00   1,500.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0100B - W. Lyn Fruchey
W. Lyn Fruchey             11/01/2019 4001-0000         Rent                               1,828.30              0.30             0.00       0.30          0.00       0.00
W. Lyn Fruchey             12/01/2019 4001-0000         Rent                               1,828.30          1,828.30         1,828.30       0.00          0.00       0.00
                                                                                           3,656.60          1,828.60         1,828.30       0.30          0.00       0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0100D - Bill Dickenson, Ben Dickenson & Ray Dominquez/Morrisons & Associates
Bill Dickenson, Ben        12/01/2019 4001-0000         Rent                                 915.00           915.00           915.00        0.00          0.00       0.00
Dickenson & Ray
Dominquez/Morrisons &
Associates




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Aged Receivable Detail
                             Charge     GL Account                                                           Amount
Payer Name                                                GL Account Name             Total Amount                                0-30      31-60     61-90       91+
                              Date      Number                                                             Receivable
 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0101 - Kiski Legal, LLC
Kiski Legal, LLC            09/01/2019 4001-0000         Rent                                4,198.43          4,191.30            0.00        0.00     0.00   4,191.30
Kiski Legal, LLC            10/01/2019 4001-0000         Rent                                4,198.43          4,198.43            0.00        0.00     0.00   4,198.43
Kiski Legal, LLC            11/01/2019 4001-0000         Rent                                4,198.43          4,198.43             0.00   4,198.43     0.00       0.00
Kiski Legal, LLC            12/01/2019 4001-0000         Rent                                4,198.43          4,198.43         4,198.43       0.00     0.00       0.00
                                                                                            16,793.72         16,786.59         4,198.43   4,198.43     0.00   8,389.73

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 0303 - Club Fit, Inc.
Club Fit, Inc.              06/30/2019 4001-0000         Rent                                       1.00           1.00             0.00       0.00     0.00       1.00
Club Fit, Inc.              06/30/2019 4001-0000         Rent                                      15.00         15.00              0.00       0.00     0.00     15.00
Club Fit, Inc.              06/30/2019 5333-0000         Security-Protection                 3,142.41          3,142.41             0.00       0.00     0.00   3,142.41
                                                         Equipment and Maint
                                                         Supply Recovery MS
Club Fit, Inc.              07/01/2019 4001-0000         Rent                                       1.00           1.00             0.00       0.00     0.00       1.00
Club Fit, Inc.              08/01/2019 4001-0000         Rent                                       1.00           1.00             0.00       0.00     0.00       1.00
Club Fit, Inc.              09/01/2019 4001-0000         Rent                                       1.00           1.00             0.00       0.00     0.00       1.00
Club Fit, Inc.              10/01/2019 4001-0000         Rent                                       1.00           1.00             0.00       0.00     0.00       1.00
Club Fit, Inc.              11/01/2019 4001-0000         Rent                                       1.00           1.00             0.00       1.00     0.00       0.00
Club Fit, Inc.              12/01/2019 4001-0000         Rent                                       1.00           1.00             1.00       0.00     0.00       0.00
                                                                                             3,164.41          3,164.41             1.00       1.00     0.00   3,162.41

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1242 - Skye Benefits
Skye Benefits               06/30/2019 4040-0000         Termination Fees                    2,018.48          2,018.48             0.00       0.00     0.00   2,018.48

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1250 - Whelan Security Co.
Whelan Security Co.         12/01/2019 4001-0000         Rent                                1,956.03           102.71           102.71        0.00     0.00       0.00
Whelan Security Co.         12/11/2019 4007-0000         Late Fee Income                            5.14           5.14             5.14       0.00     0.00       0.00
                                                                                             1,961.17           107.85           107.85        0.00     0.00       0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1394 - Conway Management Investments, LLC
Conway Management           09/01/2019 4001-0000         Rent                                4,103.33          4,103.33             0.00       0.00     0.00   4,103.33
Investments, LLC
Conway Management           10/01/2019 4001-0000         Rent                                4,103.33          4,103.33             0.00       0.00     0.00   4,103.33
Investments, LLC
Conway Management           10/11/2019 4007-0000         Late Fee Income                          410.34        410.34              0.00       0.00   410.34       0.00
Investments, LLC
Conway Management           11/01/2019 4001-0000         Rent                                4,103.33          4,103.33             0.00   4,103.33     0.00       0.00
Investments, LLC




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Aged Receivable Detail
                             Charge     GL Account                                                            Amount
Payer Name                                               GL Account Name             Total Amount                                  0-30       31-60     61-90        91+
                              Date      Number                                                              Receivable
Conway Management          11/11/2019 4007-0000          Late Fee Income                      410.34             410.34              0.00     410.34      0.00        0.00
Investments, LLC
Conway Management          12/01/2019 4001-0000          Rent                               4,103.33            4,103.33         4,103.33        0.00     0.00        0.00
Investments, LLC
Conway Management          12/11/2019 4007-0000          Late Fee Income                      410.34             410.34           410.34         0.00     0.00        0.00
Investments, LLC
                                                                                           17,644.34           17,644.34         4,513.67    4,513.67   410.34    8,206.66

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1600,1601,1624 - Washington Barber College, Inc.
Washington Barber          06/30/2019 4001-0000          Rent                              26,278.00           26,278.00             0.00        0.00     0.00   26,278.00
College, Inc.

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1700 - RGN - Little Rock I, LLC
RGN - Little Rock I, LLC   11/01/2019 4001-0000          Rent                              10,751.88           10,308.64             0.00   10,308.64     0.00        0.00
RGN - Little Rock I, LLC   11/01/2019 4001-0000          Rent                              12,530.99           12,530.99             0.00   12,530.99     0.00        0.00
RGN - Little Rock I, LLC   11/11/2019 4007-0000          Late Fee Income                    2,303.98            2,303.98             0.00    2,303.98     0.00        0.00
RGN - Little Rock I, LLC   12/01/2019 4001-0000          Rent                              23,495.60           23,495.60        23,495.60        0.00     0.00        0.00
RGN - Little Rock I, LLC   12/11/2019 4007-0000          Late Fee Income                    2,349.56            2,349.56         2,349.56        0.00     0.00        0.00
                                                                                           51,432.01           50,988.77        25,845.16   25,143.61     0.00        0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1801,1802 - The Design Group
The Design Group           12/01/2019 4001-0000          Rent                               4,858.67                0.12             0.12        0.00     0.00        0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 1803 - G & G Hospitality, LLC
G & G Hospitality, LLC     10/01/2019 4001-0000          Rent                               1,909.34            1,718.40             0.00        0.00     0.00    1,718.40
G & G Hospitality, LLC     10/11/2019 4007-0000          Late Fee Income                      190.94             190.94              0.00        0.00   190.94        0.00
G & G Hospitality, LLC     11/01/2019 4001-0000          Rent                               1,909.34            1,909.34             0.00    1,909.34     0.00        0.00
G & G Hospitality, LLC     11/11/2019 4007-0000          Late Fee Income                      190.94             190.94              0.00     190.94      0.00        0.00
G & G Hospitality, LLC     12/01/2019 4001-0000          Rent                               1,957.07            1,957.07         1,957.07        0.00     0.00        0.00
G & G Hospitality, LLC     12/11/2019 4007-0000          Late Fee Income                      195.71             195.71           195.71         0.00     0.00        0.00
                                                                                            6,353.34            6,162.40         2,152.78    2,100.28   190.94    1,718.40

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 2380 - Spectra7 Microsystems
Spectra7 Microsystems      11/01/2019 4001-0000          Rent                               4,406.15            4,406.15             0.00    4,406.15     0.00        0.00
Spectra7 Microsystems      11/11/2019 4007-0000          Late Fee Income                      440.62             440.62              0.00     440.62      0.00        0.00
Spectra7 Microsystems      12/01/2019 4001-0000          Rent                               4,406.15            4,406.15         4,406.15        0.00     0.00        0.00
Spectra7 Microsystems      12/11/2019 4007-0000          Late Fee Income                      440.62             440.62           440.62         0.00     0.00        0.00
                                                                                            9,693.54            9,693.54         4,846.77    4,846.77     0.00        0.00




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Aged Receivable Detail
                              Charge     GL Account                                                          Amount
Payer Name                                                GL Account Name              Total Amount                               0-30       31-60     61-90         91+
                               Date      Number                                                            Receivable
 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 2690, 2692 - Wilson Carroll Research Services LLC
Wilson Carroll Research     12/01/2019 4001-0000          Rent                                1,614.55         1,614.55         1,614.55        0.00     0.00         0.00
Services LLC
Wilson Carroll Research     12/06/2019 4007-0000          Late Fee Income                         720.82        720.82           720.82         0.00     0.00         0.00
Services LLC
                                                                                              2,335.37         2,335.37         2,335.37        0.00     0.00         0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 2840 - The Payroll Company of Arkansas, LLC
The Payroll Company of      12/06/2019 4007-0000          Late Fee Income                         508.73        508.73           508.73         0.00     0.00         0.00
Arkansas, LLC

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 2850,2891 - Matthew White
Matthew White               12/01/2019 4001-0000          Rent                                5,828.00          200.00           200.00         0.00     0.00         0.00
Matthew White               12/26/2019 4007-0000          Late Fee Income                         582.80        582.80           582.80         0.00     0.00         0.00
                                                                                              6,410.80          782.80           782.80         0.00     0.00         0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 2878 - Airfirst, Inc.
Airfirst, Inc.              12/01/2019 4001-0000          Rent                                6,358.62         2,421.49         2,421.49        0.00     0.00         0.00
Airfirst, Inc.              12/11/2019 4007-0000          Late Fee Income                         121.08        121.08           121.08         0.00     0.00         0.00
                                                                                              6,479.70         2,542.57         2,542.57        0.00     0.00         0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 2940 - Bradford Media Group, LLC
Bradford Media Group,       11/01/2019 4001-0000          Rent                                2,743.73          274.38              0.00     274.38      0.00         0.00
LLC
Bradford Media Group,       11/11/2019 4007-0000          Late Fee Income                         274.38        274.38              0.00     274.38      0.00         0.00
LLC
Bradford Media Group,       12/01/2019 4001-0000          Rent                                2,743.73         2,743.73         2,743.73        0.00     0.00         0.00
LLC
Bradford Media Group,       12/11/2019 4007-0000          Late Fee Income                         274.38        274.38           274.38         0.00     0.00         0.00
LLC
                                                                                              6,036.22         3,566.87         3,018.11     548.76      0.00         0.00

 regbdg - Regions Center 400 W. Capitol Ave. Little Rock, AR 72201 - Unit 3000,STORAGE1 - The Little Rock Club, Inc
The Little Rock Club, Inc   06/30/2019 4001-0000          Rent                              609,170.15       599,170.15             0.00        0.00     0.00   599,170.15
The Little Rock Club, Inc   06/30/2019 4014-0000          Storage Income                     22,497.04        22,497.04             0.00        0.00     0.00    22,497.04
The Little Rock Club, Inc   07/01/2019 4001-0000          Rent                               12,000.00        12,000.00             0.00        0.00     0.00    12,000.00
The Little Rock Club, Inc   09/01/2019 4001-0000          Rent                               12,000.00        12,000.00             0.00        0.00     0.00    12,000.00
The Little Rock Club, Inc   10/01/2019 4001-0000          Rent                               12,000.00        12,000.00             0.00        0.00     0.00    12,000.00
The Little Rock Club, Inc   10/11/2019 4007-0000          Late Fee Income                         600.00        600.00              0.00        0.00   600.00         0.00
The Little Rock Club, Inc   11/01/2019 4001-0000          Rent                               12,000.00        12,000.00             0.00   12,000.00     0.00         0.00



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Aged Receivable Detail
                             Charge    GL Account                                             Amount
Payer Name                                          GL Account Name      Total Amount                               0-30      31-60      61-90          91+
                              Date     Number                                               Receivable
The Little Rock Club, Inc   11/11/2019 4007-0000    Late Fee Income               600.00         600.00              0.00     600.00        0.00         0.00
The Little Rock Club, Inc   12/01/2019 4001-0000    Rent                        12,000.00      12,000.00        12,000.00        0.00       0.00         0.00
The Little Rock Club, Inc   12/11/2019 4007-0000    Late Fee Income               600.00         600.00           600.00         0.00       0.00         0.00
                                                                             693,467.19       683,467.19        12,600.00   12,600.00    600.00    657,667.19



Total                                                                       1,065,028.56      877,690.96       102,048.89   60,076.37   1,459.55   714,106.15




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                                                                                                                                                                                                                                                                                Regions Center (regdip)
                                                                                                                                                                                                                                                                             Income Statement
                                                                                                                                                                                                                                                                                     Book = Cash

                                                                                  NNN 400 Capitol   NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400        NNN 400           NNN 400        NNN 400
                                                                  TOTAL             Center LLC    Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center Capitol Center    Capitol Center     Capitol
                                                                                                      1 LLC          2 LLC          3 LLC          4 LLC          5 LLC          6 LLC          7 LLC          8 LLC          9 LLC         10 LLC         11 LLC         12 LLC         13 LLC         14 LLC         15 LLC         16 LLC         17 LLC         18 LLC         19 LLC         20 LLC         21 LLC         22 LLC         24 LLC          25 LLC        26 LLC         27 LLC         28 LLC          30 LLC        32 LLC             35 LLC     Center 36 LLC
                                                               Period to Date        5.502%          2.875%         9.250%         2.375%         3.000%         1.500%         2.875%         2.375%         1.625%         2.625%         5.875%         1.875%         1.875%         3.000%         3.500%         3.625%         7.000%         1.500%         2.625%         1.375%         3.125%         3.294%         2.440%         2.375%         1.750%         3.500%         3.000%         6.000%         1.645%         2.750%            0.900%         2.969%     100.00%
                                                              CASE NUMBER           17-11250        17-11251       16-12741       16-12750       16-12752       16-12753       16-12754       17-11253       17-11254       16-12755       16-12730       16-12731       16-12732       16-12733       16-12735       16-12736       16-12728       16-12737       16-12738       16-12739       16-12742       16-12743       16-12744       16-12746       17-11258       16-12747       16-12748       16-12749       17-11255       16-12751          17-11256       17-11257

            TOTAL DISBURSEMENTS (rounded)                            561,550.94         30,896.53      16,144.59      51,943.46      13,336.83      16,846.53       8,423.26      16,144.59      13,336.83       9,125.20      14,740.71      32,991.12      10,529.08      10,529.08            16,846.53        19,654.28    20,356.22    39,308.57   8,423.26      14,740.71       7,721.33      17,548.47      18,497.49      13,701.84      13,336.83       9,827.14      19,654.28      16,846.53      33,693.06       9,237.51      15,442.65          5,053.96     16,672.45
            TOTAL DISBURSEMENTS (actual)                             561,550.94
4000-0000   INCOME

4000-1000   OPERATING INCOME

4000-1000   REVENUE
4001-0000    Base Rent                                               585,096.56         32,192.01      16,821.53      54,121.43      13,896.04      17,552.90       8,776.45      16,821.53      13,896.04       9,507.82      15,358.78      34,374.42      10,970.56      10,970.56           17,552.90         20,478.38    21,209.75    40,956.76    8,776.45     15,358.78       8,045.08      18,284.27      19,273.08      14,276.36      13,896.04      10,239.19      20,478.38      17,552.90      35,105.79       9,624.84      16,090.16          5,265.87     17,371.52
4007-0000    Late Fee                                                    385.77             21.23          11.09          35.68           9.16          11.57           5.79          11.09           9.16           6.27          10.13          22.66           7.23           7.23               11.57             13.50        13.98        27.00        5.79         10.13           5.30          12.06          12.71           9.41           9.16           6.75          13.50          11.57          23.15           6.35          10.61              3.47         11.45
4014-0000    Storage Rent                                                429.18             23.61          12.34          39.70          10.19          12.88           6.44          12.34          10.19           6.97          11.27          25.21           8.05           8.05               12.88             15.02        15.56        30.04        6.44         11.27           5.90          13.41          14.14          10.47          10.19           7.51          15.02          12.88          25.75           7.06          11.80              3.86         12.74
4120-0000    CAM Estimates                                            11,779.74            648.12         338.67       1,089.63         279.77         353.39         176.70         338.67         279.77         191.42         309.22         692.06         220.87         220.87              353.39            412.29       427.02       824.58      176.70        309.22         161.97         368.12         388.02         287.43         279.77         206.15         412.29         353.39         706.78         193.78         323.94            106.02        349.74
4163-0000    Percentage Rent                                               0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                0.00              0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
4165-0000    Parking Income                                           35,868.88          1,973.51       1,031.23       3,317.87         851.89       1,076.07         538.03       1,031.23         851.89         582.87         941.56       2,107.30         672.54         672.54            1,076.07          1,255.41     1,300.25     2,510.82      538.03        941.56         493.20       1,120.90       1,181.52         875.20         851.89         627.71       1,255.41       1,076.07       2,152.13         590.04         986.39            322.82      1,064.95
4167-0000    Space/Antenna Rent                                        3,231.33            177.79          92.90         298.90          76.74          96.94          48.47          92.90          76.74          52.51          84.82         189.84          60.59          60.59               96.94            113.10       117.14       226.19       48.47         84.82          44.43         100.98         106.44          78.84          76.74          56.55         113.10          96.94         193.88          53.16          88.86             29.08         95.94
4186-0000    Miscellaneous Income                                                            0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                0.00              0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
4029-0000    Vending Income                                              25.00               1.38           0.72           2.31           0.59           0.75           0.38           0.72           0.59           0.41           0.66           1.47           0.47           0.47                0.75              0.88         0.91         1.75        0.38          0.66           0.34           0.78           0.82           0.61           0.59           0.44           0.88           0.75           1.50           0.41           0.69              0.23          0.74
4999-9999   TOTAL REVENUE                                           636,816.46         35,037.64      18,308.47      58,905.52      15,124.39      19,104.49       9,552.25      18,308.47      15,124.39      10,348.27      16,716.43      37,412.97      11,940.31      11,940.31           19,104.49         22,288.58    23,084.60    44,577.15    9,552.25     16,716.43       8,756.23      19,900.51      20,976.73      15,538.32      15,124.39      11,144.29      22,288.58      19,104.49      38,208.99      10,475.63      17,512.45          5,731.35     18,907.08

5000-0000   OPERATING EXPENSES

5000-0001   RECOVERABLE EXPENSES

5000-1000    PAYROLL EXPENSES
5006-0001     Maintenance Engineer Salary Reimb.                      13,605.01            748.55         391.14       1,258.46         323.12         408.15         204.08         391.14         323.12         221.08         357.13         799.29         255.09         255.09                408.15          476.18       493.18       952.35     204.08         357.13         187.07         425.16         448.15         331.96         323.12         238.09         476.18         408.15          816.30        223.80         374.14            122.45        403.93
5007-0000     Property Management Payroll                             11,958.85            657.98         343.82       1,106.19         284.02         358.77         179.38         343.82         284.02         194.33         313.92         702.58         224.23         224.23                358.77          418.56       433.51       837.12     179.38         313.92         164.43         373.71         393.92         291.80         284.02         209.28         418.56         358.77          717.53        196.72         328.87            107.63        355.06
5040-0000     Engineering Uniforms and Cleaning                            0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00           0.00              0.00          0.00
5042-0000     Payroll Other/Temp Services                                  0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00           0.00              0.00          0.00
5099-9999    TOTAL PAYROLL EXPENSES                                  25,563.86          1,406.52         734.96       2,364.66         607.14         766.92         383.46         734.96         607.14         415.41         671.05       1,501.88         479.32         479.32                766.92          894.74       926.69     1,789.47     383.46         671.05         351.50         798.87         842.07         623.76         607.14         447.37         894.74         766.92        1,533.83        420.53         703.01            230.07        758.99

5100-1000    REPAIRS AND MAINTENANCE
5117-0000     Landscaping and Grounds MTM                                  0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                     0.00         0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5199-9999   TOTAL NEWMARK MTP REPAIRS AND MAINTENANC                       0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                     0.00         0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00

5200-0000    CONTRACT REPAIRS AND MAINTENANCE
5201-0000     Appliance Matinenance                                           0              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5204-0000     Building Maintenance                                    73,439.00          4,040.61       2,111.37       6,793.11       1,744.18       2,203.17       1,101.59       2,111.37       1,744.18       1,193.38       1,927.77       4,314.54       1,376.98       1,376.98              2,203.17        2,570.37     2,662.16     5,140.73   1,101.59       1,927.77       1,009.79       2,294.97       2,419.08       1,791.91       1,744.18       1,285.18       2,570.37       2,203.17       4,406.34       1,208.07       2,019.57            660.95      2,180.40
5207-0000     Carpet Repair/Replace/Clean                                263.60             14.50           7.58          24.38           6.26           7.91           3.95           7.58           6.26           4.28           6.92          15.49           4.94           4.94                  7.91            9.23         9.56        18.45       3.95           6.92           3.62           8.24           8.68           6.43           6.26           4.61           9.23           7.91          15.82           4.34           7.25              2.37          7.83
5208-0000     HVAC Water Treatment                                         0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5211-0000     UPS and Generator Main/Dock                                  0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5212-0000     Locksmith                                                  333.54             18.35           9.59          30.85           7.92          10.01           5.00           9.59           7.92           5.42           8.76          19.60           6.25           6.25                 10.01           11.67        12.09        23.35       5.00           8.76           4.59          10.42          10.99           8.14           7.92           5.84          11.67          10.01          20.01           5.49           9.17              3.00          9.90
5213-0000     Drape and Blind Repairs CM                               6,535.00            359.56         187.88         604.49         155.21         196.05          98.03         187.88         155.21         106.19         171.54         383.93         122.53         122.53                196.05          228.73       236.89       457.45      98.03         171.54          89.86         204.22         215.26         159.45         155.21         114.36         228.73         196.05         392.10         107.50         179.71             58.82        194.02
5214-0000     Electrical Repair/Replace                                    0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5215-0000     Elevator Contract                                       13,328.06            733.31         383.18       1,232.85         316.54         399.84         199.92         383.18         316.54         216.58         349.86         783.02         249.90         249.90                399.84          466.48       483.14       932.96     199.92         349.86         183.26         416.50         439.03         325.20         316.54         233.24         466.48         399.84         799.68         219.25         366.52            119.95        395.71
5218-0000     Fire and Safety Supplies/Labor                          15,210.29            836.87         437.30       1,406.95         361.24         456.31         228.15         437.30         361.24         247.17         399.27         893.60         285.19         285.19                456.31          532.36       551.37     1,064.72     228.15         399.27         209.14         475.32         501.03         371.13         361.24         266.18         532.36         456.31         912.62         250.21         418.28            136.89        451.59
5220-0000     Fountain Maintenance Cm                                      0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5218-0001     Fire and Safety Inspections                                  0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5222-0000     HVAC Contract Services                                   7,319.67            402.73         210.44         677.07         173.84         219.59         109.80         210.44         173.84         118.94         192.14         430.03         137.24         137.24                219.59          256.19       265.34       512.38     109.80         192.14         100.65         228.74         241.11         178.60         173.84         128.09         256.19         219.59         439.18         120.41         201.29             65.88        217.32
5224-0000     Janitorial Service                                      34,580.47          1,902.62         994.19       3,198.69         821.29       1,037.41         518.71         994.19         821.29         561.93         907.74       2,031.60         648.38         648.38              1,037.41        1,210.32     1,253.54     2,420.63     518.71         907.74         475.48       1,080.64       1,139.08         843.76         821.29         605.16       1,210.32       1,037.41       2,074.83         568.85         950.96            311.22      1,026.69
5225-0000     Janitorial Night Service                                     0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5226-0000     Grounds Maintenance Contract                             2,627.75            144.58          75.55         243.07          62.41          78.83          39.42          75.55          62.41          42.70          68.98         154.38          49.27          49.27                 78.83           91.97        95.26       183.94      39.42          68.98          36.13          82.12          86.56          64.12          62.41          45.99          91.97          78.83         157.67          43.23          72.26             23.65         78.02
5228-0000     Miscellaneous Maintenance                                    0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5230-0000     Painting CM                                              2,530.00            139.20          72.74         234.03          60.09          75.90          37.95          72.74          60.09          41.11          66.41         148.64          47.44          47.44                 75.90           88.55        91.71       177.10      37.95          66.41          34.79          79.06          83.34          61.73          60.09          44.28          88.55          75.90         151.80          41.62          69.58             22.77         75.12
5232-0000     Parking Lot Repair                                           0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5234-0001     Pest Control Interior                                      353.16             19.43          10.15          32.67           8.39          10.59           5.30          10.15           8.39           5.74           9.27          20.75           6.62           6.62                 10.59           12.36        12.80        24.72       5.30           9.27           4.86          11.04          11.63           8.62           8.39           6.18          12.36          10.59          21.19           5.81           9.71              3.18         10.49
5235-0000     Landscaping Interior                                         0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5236-0000     Plumbing Supplies/Labor                                  4,600.02            253.09         132.25         425.50         109.25         138.00          69.00         132.25         109.25          74.75         120.75         270.25          86.25          86.25                138.00          161.00       166.75       322.00      69.00         120.75          63.25         143.75         151.52         112.24         109.25          80.50         161.00         138.00         276.00          75.67         126.50             41.40        136.57
5238-0000     Steam Cleaning                                           1,657.55             91.20          47.65         153.32          39.37          49.73          24.86          47.65          39.37          26.94          43.51          97.38          31.08          31.08                 49.73           58.01        60.09       116.03      24.86          43.51          22.79          51.80          54.60          40.44          39.37          29.01          58.01          49.73          99.45          27.27          45.58             14.92         49.21
5241-0000     Roof Repair CM                                               0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5242-0000     Fire Protection/Alarms                                  -3,856.91           -212.21        -110.89        -356.76         -91.60        -115.71         -57.85        -110.89         -91.60         -62.67        -101.24        -226.59         -72.32         -72.32               -115.71         -134.99      -139.81      -269.98     -57.85        -101.24         -53.03        -120.53        -127.05         -94.11         -91.60         -67.50        -134.99        -115.71        -231.41         -63.45        -106.07            -34.71       -114.51
5243-0000     Security System Repair                                     385.04             21.18          11.07          35.62           9.14          11.55           5.78          11.07           9.14           6.26          10.11          22.62           7.22           7.22                 11.55           13.48        13.96        26.95       5.78          10.11           5.29          12.03          12.68           9.39           9.14           6.74          13.48          11.55          23.10           6.33          10.59              3.47         11.43
5243-0001     Security Supplies                                            0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5245-0000     Security Service                                        10,923.56            601.01         314.05       1,010.43         259.43         327.71         163.85         314.05         259.43         177.51         286.74         641.76         204.82         204.82                327.71          382.32       395.98       764.65     163.85         286.74         150.20         341.36         359.82         266.53         259.43         191.16         382.32         327.71         655.41         179.69         300.40             98.31        324.32
5247-0000     Signage Maintenance                                          0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5248-0000     Skywalk Maintenance                                        393.00             21.62          11.30          36.35           9.33          11.79           5.90          11.30           9.33           6.39          10.32          23.09           7.37           7.37                 11.79           13.76        14.25        27.51       5.90          10.32           5.40          12.28          12.95           9.59           9.33           6.88          13.76          11.79          23.58           6.46          10.81              3.54         11.67
5254-0000     Trash Removal CM                                             0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5257-0000     Waste Water Treatment CM                                     0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5258-0000     Window Cleaning CM                                           0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5259-0000     Glass Repair                                             1,239.76             68.21          35.64         114.68          29.44          37.19          18.60          35.64          29.44          20.15          32.54          72.84          23.25          23.25                 37.19           43.39        44.94        86.78      18.60          32.54          17.05          38.74          40.84          30.25          29.44          21.70          43.39          37.19          74.39          20.39          34.09             11.16         36.81
5335-0000     Building Signage                                             0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00              0.00          0.00
5399-9999    TOTAL REPAIRS AND MAINTENANCE                          171,862.56           9,455.88       4,941.05      15,897.29       4,081.74       5,155.88       2,577.94       4,941.05       4,081.74       2,792.77       4,511.39      10,096.93       3,222.42       3,222.42              5,155.88        6,015.19     6,230.02    12,030.38   2,577.94       4,511.39       2,363.11       5,370.71       5,661.15       4,193.45       4,081.74       3,007.59       6,015.19       5,155.88      10,311.75       2,827.14       4,726.22          1,546.76      5,102.60
5300-0000       MAINTENANCE SUPPLIES

5301-0000       CONTRACT MAINTENANCE SUPPLIES
5303-0000         Building Supplies MS                                     0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5306-0000         Carpet and Flooring Supplies MS                          0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5308-0000         Door and Lock Supplies MS                                0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5310-0000         Electrical Supplies MS                                   0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5311-0000         Elevator Supplies MS                                     0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5316-0000         HVAC Supplies MS                                     1,044.52             57.47          30.03          96.62          24.81          31.34         15.67           30.03          24.81         16.97           27.42          61.37         19.58          19.58                  31.34           36.56        37.86        73.12      15.67          27.42         14.36           32.64          34.41          25.49          24.81         18.28           36.56          31.34          62.67          17.18          28.72             9.40          31.01
5317-0000         Janitorial Supplies                                  4,497.22            247.44         129.30         415.99         106.81         134.92         67.46          129.30         106.81         73.08          118.05         264.21         84.32          84.32                 134.92          157.40       163.02       314.81      67.46         118.05         61.84          140.54         148.14         109.73         106.81         78.70          157.40         134.92         269.83          73.98         123.67            40.47         133.52
5329-0000         Repairs and Maintenance Supplies                         0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5332-0000         Security-Protection Equipment Supplies MS                0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5335-0000         Signage Supplies MS                                      0.00              0.00           0.00           0.00           0.00           0.00          0.00            0.00           0.00          0.00            0.00           0.00          0.00           0.00                   0.00            0.00         0.00         0.00       0.00           0.00          0.00            0.00           0.00           0.00           0.00          0.00            0.00           0.00           0.00           0.00           0.00             0.00           0.00
5390-9999       TOTAL CONTRACT MAINTENANCE SUPPLIES                   5,541.74            304.91         159.33         512.61         131.62         166.25          83.13         159.33         131.62          90.05         145.47         325.58         103.91         103.91                166.25          193.96       200.89       387.92       83.13        145.47          76.20         173.18         182.54         135.22         131.62          96.98         193.96         166.25         332.50           91.16        152.40             49.88        164.53

5399-9998      TOTAL MAINTENANCE SUPPLIES                             5,541.74             304.91        159.33         512.61         131.62         166.25           83.13         159.33         131.62          90.05         145.47         325.58         103.91         103.91                166.25         193.96       200.89       387.92       83.13         145.47          76.20         173.18         182.54         135.22         131.62          96.98         193.96         166.25         332.50          91.16         152.40            49.88        164.53

5399-9999     TOTAL REPAIRS MAINTENANCE AND SUPPLIES                177,404.30           9,760.78       5,100.37      16,409.90       4,213.35       5,322.13       2,661.06       5,100.37       4,213.35       2,882.82       4,656.86      10,422.50       3,326.33       3,326.33              5,322.13        6,209.15     6,430.91    12,418.30   2,661.06       4,656.86       2,439.31       5,543.88       5,843.70       4,328.66       4,213.35       3,104.58       6,209.15       5,322.13      10,644.26       2,918.30       4,878.62          1,596.64      5,267.13

5400-0000    UTILITIES
5401-0000     Electricity                                             83,860.16          4,613.99       2,410.98       7,757.06       1,991.68       2,515.80       1,257.90       2,410.98       1,991.68       1,362.73       2,201.33       4,926.78       1,572.38       1,572.38               2,515.80       2,935.11     3,039.93     5,870.21    1,257.90      2,201.33       1,153.08       2,620.63       2,762.35       2,046.19       1,991.68       1,467.55       2,935.11       2,515.80        5,031.61       1,379.50       2,306.15           754.74      2,489.81
5405-0000     Fuel                                                         0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00             0.00          0.00
5406-0000     Garbage Removal US                                       3,302.64            181.71          94.95         305.49          78.44          99.08          49.54          94.95          78.44          53.67          86.69         194.03          61.92          61.92                  99.08         115.59       119.72       231.18       49.54         86.69          45.41         103.21         108.79          80.58          78.44          57.80         115.59          99.08          198.16          54.33          90.82            29.72         98.06
5410-0000     Internet Service US                                        418.67             23.04          12.04          38.73           9.94          12.56           6.28          12.04           9.94           6.80          10.99          24.60           7.85           7.85                  12.56          14.65        15.18        29.31        6.28         10.99           5.76          13.08          13.79          10.22           9.94           7.33          14.65          12.56           25.12           6.89          11.51             3.77         12.43
5418-0000     Telephone                                                  400.00             22.01          11.50          37.00           9.50          12.00           6.00          11.50           9.50           6.50          10.50          23.50           7.50           7.50                  12.00          14.00        14.50        28.00        6.00         10.50           5.50          12.50          13.18           9.76           9.50           7.00          14.00          12.00           24.00           6.58          11.00             3.60         11.88
5421-0000     Telephone Recovery US                                        0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00             0.00          0.00
5422-0000     Television Cable US                                        164.21              9.03           4.72          15.19           3.90           4.93           2.46           4.72           3.90           2.67           4.31           9.65           3.08           3.08                   4.93           5.75         5.95        11.49        2.46          4.31           2.26           5.13           5.41           4.01           3.90           2.87           5.75           4.93            9.85           2.70           4.52             1.48          4.88
5427-0000     Water                                                        0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00             0.00          0.00
5429-0000     Water-Semi Annual Fire                                       0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00             0.00          0.00
5499-9999    TOTAL UTILITIES                                         88,145.68          4,849.78       2,534.19       8,153.48       2,093.46       2,644.37       1,322.19       2,534.19       2,093.46       1,432.37       2,313.82       5,178.56       1,652.73       1,652.73               2,644.37       3,085.10     3,195.28     6,170.20    1,322.19      2,313.82       1,212.00       2,754.55       2,903.52       2,150.75       2,093.46       1,542.55       3,085.10       2,644.37        5,288.74       1,450.00       2,424.01           793.31      2,617.05

5500-0000    GEN & ADMIN EXPENSES
5501-0000            Accounting Fees                                       0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5502-0000     Marketing Expense                                            0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5504-0000     Asset Management Fees                                   -8,000.00           -440.16        -230.00        -740.00        -190.00        -240.00        -120.00        -230.00        -190.00        -130.00        -210.00        -470.00        -150.00        -150.00                -240.00        -280.00      -290.00      -560.00    -120.00        -210.00        -110.00        -250.00        -263.52        -195.20        -190.00        -140.00        -280.00        -240.00         -480.00       -131.60         -220.00           -72.00       -237.52
5507-0000     Bank Charges AS                                            158.69              8.73           4.56          14.68           3.77           4.76           2.38           4.56           3.77           2.58           4.17           9.32           2.98           2.98                   4.76           5.55         5.75        11.11       2.38           4.17           2.18           4.96           5.23           3.87           3.77           2.78           5.55           4.76            9.52          2.61            4.36             1.43          4.71
5515-0000            Computer Software                                     0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5532-0000     Dues and Subscriptions                                       0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5533-0000     Education and Training                                       0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5550-0000     Legal                                                        0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5551-0000     Property Management Fees                                12,166.82            669.42         349.80       1,125.43         288.96         365.00         182.50         349.80         288.96         197.71         319.38         714.80         228.13         228.13                 365.00         425.84       441.05       851.68     182.50         319.38         167.29         380.21         400.78         296.87         288.96         212.92         425.84         365.00          730.01        200.14          334.59           109.50        361.23
5556-0000     Meals and Entertainment                                      0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5560-0000     Misc Administrative Expenses AS                              0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5570-0000     Office Expenses                                              0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5585-0000     Postage and Courier                                          0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5586-0000     Printing/Reproduction                                        0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00            0.00             0.00          0.00
5606-0000            Suspense                                         30,127.55          1,657.62         866.17       2,786.80         715.53         903.83         451.91         866.17         715.53         489.57         790.85       1,769.99         564.89         564.89                 903.83       1,054.46     1,092.12     2,108.93     451.91         790.85         414.25         941.49         992.40         735.11         715.53         527.23       1,054.46         903.83        1,807.65        495.60          828.51           271.15        894.49
5608-0000     Tenant and Client Appreciation                           8,038.53            442.28         231.11         743.56         190.92         241.16         120.58         231.11         190.92         130.63         211.01         472.26         150.72         150.72                 241.16         281.35       291.40       562.70     120.58         211.01         110.53         251.20         264.79         196.14         190.92         140.67         281.35         241.16          482.31        132.23          221.06            72.35        238.66
5610-0000     Travel Expenses                                         12,555.11            690.78         360.96       1,161.35         298.18         376.65         188.33         360.96         298.18         204.02         329.57         737.61         235.41         235.41                 376.65         439.43       455.12       878.86     188.33         329.57         172.63         392.35         413.57         306.34         298.18         219.71         439.43         376.65          753.31        206.53          345.27           113.00        372.76
5699-9999    TOTAL GEN & ADMIN EXPENSES                              55,046.70          3,028.67       1,582.59       5,091.82       1,307.36       1,651.40         825.70       1,582.59       1,307.36         894.51       1,444.98       3,233.99       1,032.13       1,032.13               1,651.40       1,926.63     1,995.44     3,853.27     825.70       1,444.98         756.89       1,720.21       1,813.24       1,343.14       1,307.36         963.32       1,926.63       1,651.40        3,302.80        905.52        1,513.78           495.42      1,634.34

5700-0000    INSURANCE AND TAXES
5702-0000     Insurance Liability                                          0.00             0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                      0.00        0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00           0.00           0.00             0.00          0.00
5705-0000     Insurance Property                                           0.00             0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                      0.00        0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00           0.00           0.00             0.00          0.00
5711-0000     Real Estate Taxes                                            0.00             0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                      0.00        0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00           0.00           0.00             0.00          0.00
5799-9000    TOTAL INSURANCE AND TAXES                                     0.00             0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                      0.00        0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00           0.00           0.00             0.00          0.00


6479-9999   TOTAL RECOVERABLE EXPENSES                              346,160.54         19,045.75       9,952.12      32,019.85       8,221.31      10,384.82       5,192.41       9,952.12       8,221.31       5,625.11       9,086.71      20,336.93       6,490.51       6,490.51           10,384.82         12,115.62    12,548.32    24,231.24    5,192.41      9,086.71       4,759.71      10,817.52      11,402.53       8,446.32       8,221.31       6,057.81      12,115.62      10,384.82      20,769.63        5,694.34       9,519.41         3,115.44     10,277.51

6100-0000   Utilities and Service Expense
6109-0000            Security Fire Protection                              0.00             0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                      0.00        0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00           0.00           0.00             0.00          0.00
5799-9000    TOTAL INSURANCE AND TAXES                                     0.00             0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                      0.00        0.00         0.00         0.00        0.00          0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00           0.00           0.00           0.00           0.00             0.00          0.00

5800-0000   NON RECOVERABLE EXPENSES
6204-0000         Legal                                                5,500.00            302.61         158.13         508.75         130.63         165.00          82.50         158.13         130.63          89.38         144.38         323.13         103.13         103.13                165.00          192.50       199.38       385.00      82.50         144.38          75.63         171.88         181.17         134.20         130.63          96.25         192.50         165.00          330.00         90.48         151.25             49.50        163.30
6201-1000         Asset Management Fees                               12,000.00            660.24         345.00       1,110.00         285.00         360.00         180.00         345.00         285.00         195.00         315.00         705.00         225.00         225.00                360.00          420.00       435.00       840.00     180.00         315.00         165.00         375.00         395.28         292.80         285.00         210.00         420.00         360.00          720.00        197.40         330.00            108.00        356.28
6204-1000         Meal and Entertainment                                   0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00           0.00              0.00          0.00
6205-1000         Non-Building Compliances/Reg. Fees                       0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00           0.00              0.00          0.00
6201-2000         Bank Charges                                             0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                  0.00            0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00           0.00              0.00          0.00
6290-9999    TOTAL NON RECOVERABLE EXPENSES                          17,500.00            962.85         503.13       1,618.75         415.63         525.00         262.50         503.13         415.63         284.38         459.38       1,028.13         328.13         328.13                525.00          612.50       634.38     1,225.00     262.50         459.38         240.63         546.88         576.45         427.00         415.63         306.25         612.50         525.00        1,050.00        287.88         481.25            157.50        519.58

6299-9000   TOTAL OPERATING EXPENSES                                363,660.54         20,008.60      10,455.24      33,638.60       8,636.94      10,909.82       5,454.91      10,455.24       8,636.94       5,909.48       9,546.09      21,365.06       6,818.64       6,818.64           10,909.82         12,728.12    13,182.69    25,456.24    5,454.91      9,546.09       5,000.33      11,364.39      11,978.98       8,873.32       8,636.94       6,364.06      12,728.12      10,909.82      21,819.63        5,982.22     10,000.66          3,272.94     10,797.08

6499-9999   NET OPERATING INCOME                                    273,155.92         15,029.04       7,853.23      25,266.92       6,487.45       8,194.68       4,097.34       7,853.23       6,487.45       4,438.78       7,170.34      16,047.91       5,121.67       5,121.67               8,194.68       9,560.46     9,901.90    19,120.91    4,097.34      7,170.34       3,755.89       8,536.12       8,997.76       6,665.00       6,487.45       4,780.23       9,560.46       8,194.68      16,389.36        4,493.41       7,511.79         2,458.40      8,110.00


6300-0000   DEBT INTEREST EXPENSES
6302-0000    Interest Expense                                        162,000.00          8,913.24       4,657.50      14,985.00       3,847.50       4,860.00       2,430.00       4,657.50       3,847.50       2,632.50       4,252.50       9,517.50       3,037.50       3,037.50               4,860.00       5,670.00     5,872.50    11,340.00    2,430.00      4,252.50       2,227.50       5,062.50       5,336.28       3,952.80       3,847.50       2,835.00       5,670.00       4,860.00        9,720.00       2,664.90       4,455.00         1,458.00      4,809.78
6399-9999   TOTAL DEBT INTEREST EXPENSES                            162,000.00          8,913.24       4,657.50      14,985.00       3,847.50       4,860.00       2,430.00       4,657.50       3,847.50       2,632.50       4,252.50       9,517.50       3,037.50       3,037.50               4,860.00       5,670.00     5,872.50    11,340.00    2,430.00      4,252.50       2,227.50       5,062.50       5,336.28       3,952.80       3,847.50       2,835.00       5,670.00       4,860.00        9,720.00       2,664.90       4,455.00         1,458.00      4,809.78

6400-0000   CAPITAL EXPENDITURES
6408-0000         Interior Building Repairs                           22,105.00          1,216.22         635.52       2,044.71         524.99         663.15         331.58         635.52         524.99         359.21         580.26       1,298.67         414.47         414.47                 663.15         773.68       801.31     1,547.35     331.58         580.26         303.94         690.78         728.14         539.36         524.99         386.84         773.68         663.15        1,326.30        363.63         607.89            198.95        656.30
6409-0000         Exterior Building Repairs                            5,452.00            299.97         156.75         504.31         129.49         163.56          81.78         156.75         129.49          88.60         143.12         320.31         102.23         102.23                 163.56         190.82       197.64       381.64      81.78         143.12          74.97         170.38         179.59         133.03         129.49          95.41         190.82         163.56          327.12         89.69         149.93             49.07        161.87
6410-0000         Leasing Commissions                                  8,333.40            458.50         239.59         770.84         197.92         250.00         125.00         239.59         197.92         135.42         218.75         489.59         156.25         156.25                 250.00         291.67       302.09       583.34     125.00         218.75         114.58         260.42         274.50         203.33         197.92         145.83         291.67         250.00          500.00        137.08         229.17             75.00        247.42
6414-0000         Tenant Finish                                            0.00              0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00                   0.00           0.00         0.00         0.00       0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00           0.00            0.00          0.00           0.00              0.00          0.00
6499-9999   TOTAL CAPITAL EXPENDITURES                               35,890.40          1,974.69       1,031.85       3,319.86         852.40       1,076.71         538.36       1,031.85         852.40         583.22         942.12       2,108.56         672.95         672.95               1,076.71       1,256.16     1,301.03     2,512.33     538.36         942.12         493.49       1,121.58       1,182.23         875.73         852.40         628.08       1,256.16       1,076.71        2,153.42        590.40         986.99            323.01      1,065.59

7000-0000   NET INCOME                                               75,265.52          4,141.11       2,163.88       6,962.06       1,787.56       2,257.97       1,128.98       2,163.88       1,787.56       1,223.06       1,975.72       4,421.85       1,411.23       1,411.23               2,257.97       2,634.29     2,728.38     5,268.59    1,128.98      1,975.72       1,034.90       2,352.05       2,479.25       1,836.48       1,787.56       1,317.15       2,634.29       2,257.97        4,515.93       1,238.12       2,069.80           677.39      2,234.63
